                     Exhibit C




Case 3:24-cv-01359   Document 1-3   Filed 11/15/24   Page 1 of 131 PageID #: 58
         ' '.           EFTLED 10115t2404:56 pM CASE NO. 24e,2481 Joseph p. Day, Cterk
      CIRCUIT COURT SUMMONS                                                                                               NASHVILLE, TENNESSEE

                                                           STATE OF TENNESSEE
        Service lD 468035
                                                            DAVIDSON COUNTY
                                                           20* JUDICIAL DISTRICT
                                                                                                                   CIVILACTION
        LUCAS, IAN HLINTER                                                                                         DOCKET NO. 24C2481
                                                                                                                   Method of Service:
                                                                                            Plaintiff               Davidson County Sheriff
        vs.

        VANDERBILT LINIVERSITY
        2IOO WEST END AVENIIE
       SUITE 11OO                                                                                                             RECEIVED
       NASHVILLE, TN 37203
                                                                                                                            ocl I 7 n2+
cn
o                                                                                      Defendant
3.                                                                                                              Vandetbilt University
o
o
g
      Io the above named Defendant:                                                                         affiec of the General Counsel                     ' .'l

A     V9! qF ;ymmoled to appear and defend a civil action filed against you in the Circuit Court, 1 public Square, Room 302, p,O. Box
o)
6     196303' Nashville, TN 37219-6303 , and your defense must be mad! within thirty (30) days from the date this Summons is served
o
(^)   upon you. You are further directed to file your defense with the Clerk of the Court ind send a copy to the plaintiffs attorney it the
(Jl
      address lisied below.

      ln case of your failure to defend this action by the above date, judgment by default will be rendered against you for the relief demanded
      in the Complaint.
                                                                                                                      JOSEPH P. DAY
       rssUED:       10t15t2a24
                                                                                                                  ".",03J;g:ff,ilitl:,**""
                                                                                                 By:
                                                                                                         S\rs
                                                                                                         Deputy L;lefl(

      ADDRESS OF PLAINTIFF'S ATTORNEY OR PI-AINTIFF:
        IAN HLINTER LUCAS
        221 CHARLESTONAVE
                                                                                                                iiF;:'tT''i$ff.E,
        PLEASANT VIEW, TN 37146
                                                                                                          fi r {tilTffiiq{Fw
       NOTIC                     EFENDANT:
       Tennessee law provides a Ten Thousand and 00/100 Dollars ($10,000.00) debtor's equity interest personal property exemption from execulion
        or seizure to satisry a judgmenl. lf a judgment should be entered against you in this action and you wish lo claim property as exempt, you must
       lile a written list, under oath, of the items you wish to clairn as exempl with lhe Clerk of the Court. The list may be filed at any time and may be
       changed by you thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution
       or gamishment issued prior to lhe tiling of ihe list. Certain items are automatically exempt by law and do not need to be listed; these include
       items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles neces$ary to contain such apparel,
       family portrails, the family Bible, and school books. Should any of these items be seized, you would have the right to recover them. lf you do not
       understand your                      or how to exerclse it, you     wish to seek the counsel of a lawyer

                                                  ,o ,uqu""t an ADA accommodation, please coniact Trey Collier at (61s) SS0-3g09
                                           S




                                                                                                                                              rev,09l0V2n22



        Case 3:24-cv-01359                     Document 1-3                 Filed 11/15/24                 Page 2 of 131 PageID #: 59
         EFILED 1A106124 08:05 PM CASE NO.24C2481 Joseph P. Day, Clerk




                 IN THE CIRCUIT COURT OF DAVIDSON COUNTg TENNESSEE
                  FOR THE TWENTIETH JUDICIAL DISTRICT AT NASHVITLE

                                       IAN HUNTER LUCAS,
                                              Plaintiff,
                                                                                    RECETVED
                                                  v.
                                     VANDERBILT UNIVERSIW
                                                                                   OCT I   I N/rtt
                                                and                           Vanderbilt University
                         VANDERBILT UNIVERSITY SCHOOL OF NURSIN$gi
                                                                              ce ofthe General Counsel
                                            Defendants.

                                      VERIFIED COMPTAINT                         ,3E Ri'TCF.
                                JURV DEMAND ENDORSED HEREIN
                              UNDER SEAI AND IN CHAMBER RSVIEW
                                                                                                     $T1T,'
                                FCA NOTICE OF FILING UNDER SEAI
     Pursuant to 31 U.S.C. 5 3730(bl(21, this Verified €omplaint is being filed under seal. The
   contents herein contain confidential, sensitive, or proprietary information, including but not
   limited to personal health information (PHl! subject to the Health lnsurance Portability and
  Accountability Act (HIPAA) and other privacy regulations. Access to this document is restricted
                  and it shall remain under seal until further order of the Court,




Case 3:24-cv-01359       Document 1-3         Filed 11/15/24       Page 3 of 131 PageID #: 60
           EFILED 10106124 08:05 PM CASE NO. 24C24Bj Joseph p. Day, Cterk




                  IN THE CIRCUIT COURT OF DAVIDSON COUNTY, TENNESSEE
                   FOR THE TWENTTETH JUDICIAL DTSTRTCTAT NASHVIIIE

   IAN HUNTER LUCAS,
   Plaintiff,
   v.
   VANDERBI[T UNIVERSIW
   and
   VANDERBILT UNIVERSITY SCHOOL OF NURSING,
   Defendants.

   Case No,
   VERIFIED COMPLAINT
   JURY DEMAND ENDORSED HEREIN
   UNDER SEAI AND IN CHAMBER REVIEW



   I. INTRODUCTION




Case 3:24-cv-01359        Document 1-3       Filed 11/15/24     Page 4 of 131 PageID #: 61
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   II. JURISDICTION




  III. PARTIES




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                                  STATUTE OF TIMITATIONS




                         EXHAUSTION OF ADMINISTRATIVE REMEDIES




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                               CONFIDENTIALITY AND HIPAA COMPLIANCE




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        EFILED 10106124 08:05 PM CASE NO. Z4C24B1 Joseph p. Day, Cterk




                                 IV. GENERAL ALTEGATIONS




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        EFILED 1AnOn4 08:05 PM CASE NO. 24C2481 Joseph P. Day, Clerk




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        EFILED 10106124 08:05 PM CASE NO. 24C2481 Joseph P. Day, Cterk




                            V. COUNT ONE: BREACH OF CONTRACT




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        EFILED 10106124 08:05 PM CASE NO. 24C2481 Joseph P. Day, Clerk




               Vl. COUNT TWo: BREACH OF THE IMPLIED COVENANT OF GOOD

                                  FAITH AND FAIR DEALING




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        EFILED 10lAOl24 08:05 PM CASE NO. 24C2481 Joseph P. Day, Cterk




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        EFILED 10106124 08:05 PM CASE NO. 24C2481 Joseph P. Day, Clerk




                 Vll. COUNT THREE: DISCRIMINATION UNDER THE AMERICANS

                                wrrH DrsABruTrEs AcT {ADA}




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                        VIII. COUNT FOUR: REIALIATION FOR REPORTING

                                       DISCRIMINATION




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  lX. COUNT FIVE: VIOLATION OF SECTION S04 OF THE

  REHABILITATION ACT




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        EFILED rclAdlz( 08:05 PM CASE NO. 24C2481 Joseph P. Day, Cterk




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        EFILED 10106124 08:05 PM CASE NO, 24C2481 Joseph P, Day, Clerk




                     X. COUNT SIX: INTENTIONAI INFLICTION OF EMOTIONAL

                                       DTSTRESS (ilEDl




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        EFILED 10106124 08:05 PM CASE NO. 24C2481 Joseph P. Day, Clerk




                               XI. COUNT SEVEN: NE6LIGENCT




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                     Xll. COUNT EIGHT: DEFAMATION {LIBEL AND SI-ANDERI




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         EFILED 10106124 08:05 PM CASE NO. 24C2491 Joseph p. Day, Cterk




                           Xlll. COUNT NINE: INVASION OF PR|VACY




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         EFILED 10106124 08:05 PM CASE NO. 24C2481 Joseph P. Day, Cterk




  XlV. COUNT TEN: DUE PROCESS VIOLATIONS UNDER STATE tAW




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        EFILED 10106124 08:05 PM CASE NO. 24C2481 Joseph P. Day, Clerk




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         EFILED 1A106124 08:05 PM CASE NO. 24eZ4A1 Joseph p. Day, Cterk




                        XV. COUNT ETEVEN: WRONGFUT TERMINATION




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        EFILED 11n6l24 08:05 PM CASE NO. 24C2481 Joseph P. Day, Clerk




               XVl. COUNT TWELVE: VIOLATION OF THE FAMILY EDUCATIONAL

                             RTGHTS AND PRTVACY ACT (FERPAI




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        EFILED 10/06124 08:05 PM CASE NO. 24C2481 Joseph P. Day, Clerk




                XVII. COUNTTHTRTEEN: DISPARATE TREATMENT UNDER STATE

                                ANTI.DISCRIMINATION TAWS




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         EFILED 10106124 08:05 PM CASE NO. 24C2481 Joseph P. Day, Clerk




                      XVlll. COUNT FOURTEEN: FAILURE TO COMPLY WITH

                     TEN N ESSEE'S CO M PUTER-RE LATED CRI MES STATUTES




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        EFILED 1UA6l24 08:05 PM CASE NO. 24C2481 Joseph P. Day, Clerk




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        EFILED 10/06124 08:05 PM CASE NO. 24C2481 Joseph P. Day, Cterk




                 XlX. COUNT FIFTEEN: NEGLIGENT INFLICTION OF EMOTIONAL

                                          DISTRESS




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        EFILED 10106124 08:05 PM CASE NO. 24C2481 Joseph P' Day, Clerk




                     XX. COUNT SIXTEEN: TORTIOUS INTERFERENCE WITH

                              PROSPECTIVE BUSI NESS RETATIONS




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         EFILED 1A106124 08:05 PM CASE NO. 24C2481 Joseph P. Day, Clerk




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         EFILED 10106124 08:05 PM CASE NO. 24C2481 Joseph P. Day, Clerk




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            EFILED $106124 08:05 PM CASE NO. 24C2481 Joseph P, Day, Clerk




   JURY DEMAND:




   Respectfully submitted,



   /s/ lan Hunter Lucos
   IAN HUNTER LUCAS
   Pro 5e
   Dated: March L2,2024
   221 Charleston Avenue
   Pleasant VieW TN, 37126
   (910) 872-3577 (telephone)
   ia n,h. lu cas@ protonrna il.com
   ianh unterlucas@outlook.com
   Plaintiff Pro 5e




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           EFILED 101A6124 08:05 PM CASE NO.24C2481 Joseph P. Day, Clerk




    DECLARATION OF VERIFIED COMPIAINT
    l, lan Hunter Lucas, declare as follows:
        L. I am the Plaintiff in the above-captioned matter.
        2. I have read the foregoing Verified Complaint and know the contents thereof.
        3. The allegations contained therein are true and correct to the best of my knowledge,
            information, and belief.
        4. I understand that by verifying this Complaint, I am swearing under penalty of perjury
           under the laws of the United States of America and the State of Tennessee that the
           foregoing is true and correct.
    Executed on  this   6th day of        October       2O24, at Pleasant View, Tennessee


    Respectfu lly 5u bmitted,
   ls/ lan Hunter Lucas
   IAN HUNTER LUCAS
   Plaintiff Pro Se
   22l Charleston Avenue
   Pleasant View, TN 37L46
   (eLol872-3s77
   ia n. h. lucas (oprotonma il.com
   ia nhu nte rlucas@qutlogk.   com.




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            EFILED $rc674 08:05 PM CASE NO' 24C2481 Joseph P. Day, Clerk




   NOTICE OF ELECTRONIC SIGNATURE
   ln accordance with the applicable rules of the Circuit Court of Davidson County, Tennessee, and
   any relevant electronic filing protocols, this document includes the use of an electronic
   signature. The designation "/s/ lan Hunter Lucas" serves as the legally binding equivalent of a
   handwritten signature for all purposes related to this filing'
   By affixing this electronic signature, l, lan Hunter Lucas, affirm under penalty of perjury that the
   contents of this document are true and correct to the best of my knowledge, information, and
   belief. This signature is executed in compliance with all statutory requirements and the rules
   governing electronic filings in this jurisdiction.
   Dated this      day  of             ,2024.
               -
   Respectfully submitted,
   /sl lan Hunter Lucas
   IAN HUNTER LUCAS
   Plaintiff Pro 5e
   22l Charleston Avenue
   Pleasant View, TN 37L46
   pfi\872-3s77
   ian.h.lucas@orotonmall.com
   ia@
   CERTIFICATE OF SERVICE
   I hereby certify that on    this 6th day of                        2A24, a true and correct copy of
   the foregoing   Verified Complaint was filed under seal and is therefore not served upon any
   party until further notice by the Court.  -Qctobel--_---,
   pursuant to the Court's order, and in compliance with 3L U,S.C. 5 3730(bX2), this document
   remains under seal and is subject to in-chamber review. Service upon the Defendants will be
   executed in accordance with the Court's directives once the seal is lifted'

   Respectfu I ly submitted,
   /s/ lan Hunter Lucas
   IAN HUNTER LUCAS
   Pro 5e
   22l Charleston Avenue
   Pleasant View, TN 37146
   (gLOl872-3577
   ian.h.lucas@protonmail.com
   ialhunterlucas@outlook'com




Case 3:24-cv-01359           Document 1-3        Filed 11/15/24       Page 50 of 131 PageID #: 107
      EFILED 10/06/24 08:05 PM CASE NO. 24C2481 Joseph P. Day, Clerk




  IN THE CIRCUIT COURT OF DAVIDSON COUNTY, TENNESSEE FOR THE TWENTIETH
                       JUDICIAL DISTRICT AT NASHVILLE

IAN HUNTER LUCAS,
Plaintiff,
v.

VANDERBILT UNIVERSITY, et al.,
Defendants.

                                                                             Case No.__________

                                  MOTION
TO SUBMIT COMPLAINT UNDER SEAL AND FOR IN-CHAMBERS REVIEW DUE TO FCA CONTENT

   Plaintiff, Ian Hunter Lucas, respectfully moves this Honorable Court to allow the filing of the

Verified Complaint under seal and to conduct an in-chambers review of the FCA-related content

within the complaint. In support of this motion, Plaintiff states the following:

   1. Confidential Nature of FCA Proceedings:

           o   The complaint contains allegations related to a False Claims Act (FCA) qui tam

               action. Under the FCA, such allegations are typically kept under seal to allow the

               government to investigate the claims without the risk of public disclosure

               potentially compromising the investigation.

   2. Potential Prejudice from Public Disclosure:

           o   Public disclosure of the information related to the FCA content could jeopardize

               ongoing investigations and potentially hinder the government's ability to

               thoroughly investigate and address the alleged fraudulent activities.

   3. Legal Standard for Sealing Documents:




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      EFILED 10/06/24 08:05 PM CASE NO. 24C2481 Joseph P. Day, Clerk




           o   Courts have recognized the need to seal documents to protect sensitive

               information and ensure that the judicial process is not compromised. Under

               Tennessee law, sealing a document is appropriate where disclosure would cause

               harm or prejudice to the parties involved or where the interests of justice require

               confidentiality.

   4. Request for In-Chambers Review:

           o   Given the sensitive nature of the FCA allegations, Plaintiff requests that the Court

               review the FCA-related content in chambers to determine the appropriate

               measures to protect the confidentiality of the information while allowing the

               proceedings to continue.

   5. Limited and Necessary Relief:

           o   The relief sought is narrowly tailored to protect the confidential information

               without unduly restricting public access to the remainder of the case file.

WHEREFORE, Plaintiff respectfully requests that this Court grant the motion to file the Verified

Complaint under seal, conduct an in-chambers review of the FCA-related content, and provide

any further relief deemed appropriate by the Court.

Respectfully submitted,

/s/ Ian Hunter Lucas
IAN HUNTER LUCAS
Pro Se
Dated: October 6, 2024
221 Charleston Avenue
Pleasant View, TN, 37126
(910) 872-3577 (telephone)
ian.h.lucas@protonmail.com
ianhunterlucas@outlook.com
Plaintiff Pro Se



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      EFILED 10/06/24 08:05 PM CASE NO. 24C2481 Joseph P. Day, Clerk




CERTIFICATE OF SERVICE
I hereby certify that on this 6th day of October 2024, a true and correct copy of the foregoing
Motion to Submit Complaint Under Seal and for In-Chambers Review Due to FCA Content was
served upon the following parties by U.S. Mail, hand delivery,
    • Vanderbilt University
       Loews Business Tower
       2100 West End Avenue, Suite 1100
       Nashville, TN 37203
    • Vanderbilt University School of Nursing
       Loews Business Tower
       2100 West End Avenue, Suite 1100
       Nashville, TN 37203

I declare under penalty of perjury that the foregoing is true and correct.
Respectfully submitted,
/s/ Ian Hunter Lucas
IAN HUNTER LUCAS
Pro Se
Dated: [Insert Date]
221 Charleston Avenue
Pleasant View, TN, 37126
(910) 872-3577 (telephone)
ian.h.lucas@protonmail.com
ianhunterlucas@outlook.com
Plaintiff Pro Se




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     EFILED 10/14/24 12:15 PM CASE NO. 24C2481 Joseph P. Day, Clerk




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     EFILED 10/14/24 12:15 PM CASE NO. 24C2481 Joseph P. Day, Clerk




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                                    EFILED 10/15/24 04:56 PM CASE NO. 24C2481 Joseph P. Day, Clerk
                    CIRCUIT COURT SUMMONS                                                                                             NASHVILLE, TENNESSEE

                                                                       STATE OF TENNESSEE
                     Service ID 468035                                   DAVIDSON COUNTY
                                                                       20 JUDICIAL DISTRICT
                                                                             TH




                                                                                                                                CIVIL ACTION
                      LUCAS, IAN HUNTER                                                                                         DOCKET NO. 24C2481
                                                                                                                                Method of Service:
                                                                                                         Plaintiff               Davidson County Sheriff
                      vs.

                      VANDERBILT UNIVERSITY
                      2100 WEST END AVENUE
                      SUITE 1100
                      NASHVILLE, TN 37203
Service ID 468035




                                                                                                     Defendant

                     To the above named Defendant:

                     You are summoned to appear and defend a civil action filed against you in the Circuit Court, 1 Public Square, Room 302, P.O. Box
                     196303, Nashville, TN 37219-6303 , and your defense must be made within thirty (30) days from the date this Summons is served
                     upon you. You are further directed to file your defense with the Clerk of the Court and send a copy to the Plaintiff’s attorney at the
                     address listed below.

                     In case of your failure to defend this action by the above date, judgment by default will be rendered against you for the relief demanded
                     in the Complaint.
                                                                                                                                    JOSEPH P. DAY
                      ISSUED: 10/15/2024                                                                                             Circuit Court Clerk
                                                                                                                                Davidson County, Tennessee


                                                                                                               By:

                                                                                                                       Deputy Clerk

                     ADDRESS OF PLAINTIFF’S ATTORNEY OR PLAINTIFF:
                       IAN HUNTER LUCAS
                       221 CHARLESTON AVE
                       PLEASANT VIEW, TN 37146

                       NOTICE TO THE DEFENDANT:
                       Tennessee law provides a Ten Thousand and 00/100 Dollars ($10,000.00) debtor’s equity interest personal property exemption from execution
                       or seizure to satisfy a judgment. If a judgment should be entered against you in this action and you wish to claim property as exempt, you must
                       file a written list, under oath, of the items you wish to claim as exempt with the Clerk of the Court. The list may be filed at any time and may be
                       changed by you thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution
                       or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed; these include
                       items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to contain such apparel,
                       family portraits, the family Bible, and school books. Should any of these items be seized, you would have the right to recover them. If you do not
                       understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer.

                                                                  To request an ADA accommodation, please contact Trey Collier at (615) 880-3309




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                                                                                                                                                113 09/01/2022
                                 EFILED 10/15/24 04:56 PM CASE NO. 24C2481 Joseph P. Day, Clerk
                    CIRCUIT COURT SUMMONS                                                                                  NASHVILLE, TENNESSEE

                                                            STATE OF TENNESSEE
                     Service ID 468035                        DAVIDSON COUNTY
                                                            20 JUDICIAL DISTRICT
                                                                  TH




                                                                                                                     CIVIL ACTION
                      LUCAS, IAN HUNTER                                                                              DOCKET NO. 24C2481
                                                                                                                     Method of Service:
                                                                                                                      Davidson County Sheriff
                                                                                              Plaintiff
                      vs.

                      VANDERBILT UNIVERSITY
                      2100 WEST END AVENUE
                      SUITE 1100
                      NASHVILLE, TN 37203
Service ID 468035




                                                                                          Defendant

                                                 RETURN ON PERSONAL SERVICE OF SUMMONS

                     I hereby certify and return that on the _____________day of ________ ________ ________, 20___, I:

                     _____ served this Summons and Complaint/Petition on _____________________________ in the following manner:
                     _______________________________________________________________________________________

                     _____ failed to serve this Summons within 90 days after its issuance because ______________________________
                     _______________________________________________________________________________________



                                                                                           ________________________________________
                                                                                                                 Sheriff/Process Server




                                                       To request an ADA accommodation, please contact Trey Collier at (615) 880-3309




                            Case 3:24-cv-01359       Document 1-3              Filed 11/15/24               Page 57 of 131 PageID #:rev.
                                                                                                                                     114 09/01/2022
     EFILED 10/16/24 10:15 AM CASE NO. 24C2481 Joseph P. Day, Clerk




Case 3:24-cv-01359    Document 1-3      Filed 11/15/24    Page 58 of 131 PageID #: 115
     EFILED 10/16/24 10:15 AM CASE NO. 24C2481 Joseph P. Day, Clerk




Case 3:24-cv-01359    Document 1-3      Filed 11/15/24    Page 59 of 131 PageID #: 116
        EFILED 10/17/24 06:27 PM CASE NO. 24C2481 Joseph P. Day, Clerk




      IN THE SECOND CIRCUIT COURT FOR THE STATE OF TENNESSEE,
            TWENTIETH JUDICIAL DISTRICT DAVIDSON COUNTY
                           AT NASHVILLE

 IAN HUNTER LUCAS,                                )
                                                  )
        Plaintiff,                                )
                                                  )
 v.                                               )
                                                  )
                                                  )
                                                  )
 VANDERBILT UNIVERSITY et al.,                    )
                                                  )
         Defendants.                              )


                                  NOTICE OF HEARING


      Kindly be informed that the Motion for Temporary Restraining Order,
submitted by the Plaintiff, Ian Hunter Lucas, is set for a hearing at the Second
Circuit Court for the State of Tennessee, Twentieth Judicial District, Davidson
County in Nashville. The hearing will occur on Friday, the 1st of November
2024, at 9:00 A.M.
       Should a response to the motion not be filed and served in a timely manner,
it may result in the motion being approved without further legal procedures.

With respect,

/s/ Ian H. Lucas
IAN H. LUCAS
Representing Self (Pro Se)




                                              2

 Case 3:24-cv-01359      Document 1-3      Filed 11/15/24    Page 60 of 131 PageID #: 117
     EFILED 10/17/24 06:27 PM CASE NO. 24C2481 Joseph P. Day, Clerk




                                        Respectfully submitted,


                                        IAN H. LUCAS
                                        PLAINTIFF PRO SE
                                        This document was filed on the 17th day of
                                        OCTOBER 2024.

                                        /s/Ian H. Lucas
                                        Ian H. Lucas
                                        Pro Se
                                        501 Union Street, Suite 545
                                        PMB 257601
                                        Nashville, TN 37219-1876
                                        Ian.h.lucas@protonmail.com

                                        Petitioner Pro Se




                                           2

Case 3:24-cv-01359    Document 1-3      Filed 11/15/24      Page 61 of 131 PageID #: 118
       EFILED 10/17/24 06:27 PM CASE NO. 24C2481 Joseph P. Day, Clerk




                                CERTIFICATE OF SERVICE

        I, the undersigned, certify that on the 17th day of October 2024, I have electronically
filed the NOTICE OF HEARING with the Court through its electronic filing system. In
accordance with the nature of the Temporary Restraining Order being Ex-Parte to avoid
causing harm to the Plaintiff, the listed defendants were not served either by U.S. Mail or
hand delivery.

The unnotified party is as follows:

Vanderbilt University
Office of the General Counsel
Loews Business Tower
2100 West End Avenue, Suite 1100
Nashville, TN 37203
Recognized General Counsel for Defendants
(as per Official Organizational Records and Publicly Available Notices)




                                                                                /s/ Ian H. Lucas

                                                                                 IAN H. LUCAS

                                                         DATED: this 17th day of October, 2024.




                                                3

 Case 3:24-cv-01359       Document 1-3       Filed 11/15/24     Page 62 of 131 PageID #: 119
              EFILED 10/17/24 12:15 PM CASE NO. 24C2481 Joseph P. Day, Clerk


  DAVIDSON COUNTY
      Circuit Court                                                                CIVIL ACTION
                                       RETURN OF SERVICE
                                                                               DOCKET NO. 24C2481
      468035

PLAINTIFF                                             DEFENDANT

LUCAS, IAN HUNTER                                  vs. VANDERBILT UNIVERSITY



    SERVICE DOCUMENT: SUMMONS DAVIDSON CO-D1 W/C, & ORDER (GRANTING) MT TO FILE COMPLAINT UNDERSEAL

    TO: VANDERBILT UNIVERSITY
            2100 WEST END AVENUE
            SUITE 1100
            NASHVILLE, TN 37203




   OFFICER’S RETURN:

      ✔     Executed and/or Served on VANDERBILT UNIVERSITY                 in the following manner:

            Service, Personal

             Comment: Served Nancy Short




            Court Date:



            Unable to Execute and/or Serve:



            Comment:



                                                    DATE OF SERVICE: 10/17/2024

                                                    DARON HALL, SHERIFF



                                                    BY:                 /s/ Harry Jines
                                                                          Deputy Sheriff
                                                          P. O. Box 196383, Nashville, TN 37219-6383

                                                                                             Rev. 06/02/2020
      Case 3:24-cv-01359        Document 1-3     Filed 11/15/24    Page 63 of 131 PageID #: 120
                                  EFILED 10/18/24 10:30 AM CASE NO. 24C2481 Joseph P. Day, Clerk
        , _,-,                   EFILED 10/15/24 04 :56 PM CASE NO. 24C2481 Joseph P. Day, Clerk
           CIRCUIT COURT SUMMONS                                                                                                    NASHVILLE, TENNESSEE

                                                                     STATE OF TE NNESSEE
                  Service ID 468035                                    DAVIDSON COUNTY
                                                                     20 TH JUDICIAL DISTRICT

                                                                                                                              CIVIL ACTION
                  LUCAS , IAN HUNTER                                                                                          DOCKET NO. 24C2481
                                                                                                                              Method of Service:
                                                                                                      Plaintiff                David son County Sheriff
                  vs.

                  VANDERBILT UNIVERSITY
                  2100 WEST END AVENUE
                  SUITE 1100
                  NASHVILLE, TN 37203                                                                                                           I                -    j




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(/)                                                                                                                                                   ✓--
                                                                                                                                                                          \
CD                                                                                                Defendant                                           C '.'
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c'i '
                                                                                                                                                      _,
                                                                                                                                                      t

CD               To the above named Defendant:
0                                                                                                                                                     en             . -,
.p.              You are summoned to appear and defend a civil action filed against you in the Circuit Court, 1 Publ ic Squ e, Room 02 , 'P.O. Box
0)
co               196303, Nashville, TN 37219-6303 , and your defense must be made within thirty (30) days from the date his Su            ons is ' served
0
uJ               upon you. You are further directed to file your defense with the Clerk of the Court and send a copy to the la intiff's ttorne at the
(J1
                 address listed below.                                                                                                 \.         )

                                                                                                                                                          L-
                 in case of your failure to defend this action by the above date, judgment by default will be rendered against you for the r~li f demanded
                 in the Complaint.
                                                                                                                                 JOSEPH P. DAY
                  ISSUED: 10/15/2024                                                                                               Circuit Court Clerk
                                                                                                                              Davidson County, Tennessee



                                                                                                             By:    ~
                                                                                                                    Deputy Clerk

                 ADD RESS OF PLAINTIFF'S ATTORNEY OR PLAINTIFF:
                    IAN HUNTER LUCAS
                    221 CHARLESTON AVE
                    PLEASANT VIEW, TN 3 7146

                   NOTICE TO THE DEFENDANT
                   Tennessee law provides a Ten Thousand and 00/100 Dollars ($10 ,000.00) debtor's equity interest personal property exemption from execution
                   or seizure to satisfy a judgment. If a judgment should be entered against you in this action and you wish to claim property as exempt, you must
                   file a written list, under oath , of the items you wish to claim as exempt with the Clerk of the Court. The list may be filed at any time and may be
                   changed by you thereafter as necessary; however, unless it is filed before the judgment becomes fina l, it wi ll not be effective as to any execution
                   or garnishment issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed ; these include
                   items of necessary wearing apparel (clothing) for yourself and your fami ly and trunks or other receptacles necessary to contain such apparel,
                   fami ly portraits, the family Bible, and school books. Should any of these items be seized, you wou ld have the right to recover them. If you do not
                   understand your exemption right or how to exercise it, you may wish to seek the counse l of a lawyer.

                                                        II    To request an ADA accommodation , please contact Trey Collier at (615) 880-3309




                                                                                                                                                               rev. 09/01/2022
                        Case 3:24-cv-01359                  Document 1-3                Filed 11/15/24                Page 64 of 131 PageID #: 121
                         EFILED 10/18/24 10:30 AM CASE NO. 24C2481 Joseph P. Day, Clerk
       .__,,               EFILED 10/15/24 04 :56 PM CASE NO. 24C2481 Joseph P. Day, Clerk
          CIRCUIT COURT SUMMONS                                                                                      NASHVILLE, TENNESSEE

                                                      STATE OF TENNESSEE
                Service ID 468035                       DAVIDSON COUNTY
                                                      20 TH JUDICIAL DISTRICT

                                                                                                               CIVIL ACTION
                LUCAS, IAN HUNTER                                                                              DOCKET NO. 24C2481
                                                                                                               Method of Service :
                                                                                                                Davidson County Sheriff
                                                                                       Plaintiff
                vs.

                VANDERBILT UNIVERSITY
                2100 WEST END A VENUE
                SUITE 1100
                NASHVILLE, TN 37203
(/)
CD
<
c'i'                                                                               Defendant
CD

0                                        RETURN ON PERSONAL SERVICE OF SUMMONS
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               _ _ failed to serve th is Summons within 90 days after its issuance because _ _ _ _ _ _ _ _ _ _ __




                                                                                                   C"'         Y 1-f r y ·nes
                                          ~ To request an ADA accommodation , please contact Trey Coll~ <!I (e,15l 880-3309     f's Office

                                                                                                   r.v   ..,     "            ... l,e TN 37219-6383




                                                                                                                                             rev. 09/01/2022

                 Case 3:24-cv-01359        Document 1-3                Filed 11/15/24                Page 65 of 131 PageID #: 122
      EFILED 10/24/24 02:17 PM CASE NO. 24C2481 Joseph P. Day, Clerk




           IN THE CIRCUIT COURT FOR THE STATE OF TENNESSEE
            TWENTHIETH JUDICIAL DISTRICT, DAVIDSON COUNTY
IAN HUNTER LUCAS,                                      )
                                                       )
      Plaintiff,                                       )
                                                       )
v.                                                     )       Case No. 24C2481
                                                       )
THE VANDERBILT UNIVERSITY and                          )       JURY DEMAND
VANDERBILT UNIVERSITY SCHOOL                           )
OF NURSING,                                            )
                                                       )
      Defendants.                                      )
           NOTICE OF APPEARANCE OF MATTHEW “JP” HORTON, II
              FOR DEFENDANT THE VANDERBILT UNIVERSITY
      Matthew “JP” Horton, II, hereby enters his appearance as counsel on record for The

Vanderbilt University.1


                                   Respectfully submitted,



                                   Kevin C. Klein (TN Bar No. 23301)
                                   Matthew “JP” Horton, II (TN Bar No. 038724)
                                   Klein Solomon Mills, PLLC
                                   1322 4th Avenue North
                                   Nashville, Tennessee 37208
                                   (615) 600-4780
                                   kevin.klein@kleinpllc.com
                                   jp.horton@kleinpllc.com

                                   Counsel for Defendant




1  Vanderbilt University School of Nursing is not a distinct entity from defendant the
Vanderbilt University. Insofar as Plaintiff’s decision to name Vanderbilt University School
of Nursing as a separate defendant requires a separate notice of appearance, Matthew “JP”
Horton, II hereby enters his notice of appearance as counsel on record for Vanderbilt
University School of Nursing.
                                            1

Case 3:24-cv-01359        Document 1-3   Filed 11/15/24      Page 66 of 131 PageID #: 123
      EFILED 10/24/24 02:17 PM CASE NO. 24C2481 Joseph P. Day, Clerk




                              CERTIFICATE OF SERVICE

       I hereby certify that on this 24th day of October, 2024, a true and correct copy of the
foregoing NOTICE OF APPEARANCE was filed electronically. Notice of this filing will be
sent by operation of the court’s electronic filing system to all parties indicated on the
electronic filing receipt, including:

Ian Hunter Lucas
221 Charleston Avenue
Pleasant View, TN 37216
ian.h.lucas@protonmail.com
ianhunterlucas@outlook.com



                                                   Matthew “JP” Horton, II




                                              2

Case 3:24-cv-01359      Document 1-3       Filed 11/15/24    Page 67 of 131 PageID #: 124
      EFILED 10/24/24 02:14 PM CASE NO. 24C2481 Joseph P. Day, Clerk




               IN THE CIRCUIT COURT FOR THE STATE OF TENNESSEE
                TWENTHIETH JUDICIAL DISTRICT, DAVIDSON COUNTY
IAN HUNTER LUCAS,                                       )
                                                        )
       Plaintiff,                                       )
                                                        )
v.                                                      )      Case No. 24C2481
                                                        )
THE VANDERBILT UNIVERSITY and                           )      JURY DEMAND
VANDERBILT UNIVERSITY SCHOOL                            )
OF NURSING,                                             )
                                                        )
       Defendants.                                      )
                   NOTICE OF APPEARANCE OF KEVIN C. KLEIN
                  FOR DEFENDANT THE VANDERBILT UNIVERSITY
       Kevin C. Klein hereby enters his appearance as counsel on record for The Vanderbilt

University.1


                                   Respectfully submitted,




                                   Kevin C. Klein (TN Bar No. 23301)
                                   Matthew “JP” Horton, II (TN Bar No. 038724)
                                   Klein Solomon Mills, PLLC
                                   1322 4th Avenue North
                                   Nashville, Tennessee 37208
                                   (615) 600-4780
                                   kevin.klein@kleinpllc.com
                                   jp.horton@kleinpllc.com

                                   Counsel for Defendant




1  Vanderbilt University School of Nursing is not a distinct entity from defendant the
Vanderbilt University. Insofar as Plaintiff’s decision to name Vanderbilt University School
of Nursing as a separate defendant requires a separate notice of appearance, Kevin C. Klein
hereby enters his notice of appearance as counsel on record for Vanderbilt University School
of Nursing.
                                             1

Case 3:24-cv-01359      Document 1-3      Filed 11/15/24     Page 68 of 131 PageID #: 125
      EFILED 10/24/24 02:14 PM CASE NO. 24C2481 Joseph P. Day, Clerk




                              CERTIFICATE OF SERVICE

       I hereby certify that on this 24th day of October, 2024, a true and correct copy of the
foregoing NOTICE OF APPEARANCE was filed electronically. Notice of this filing will be
sent by operation of the court’s electronic filing system to all parties indicated on the
electronic filing receipt, including:

Ian Hunter Lucas
221 Charleston Avenue
Pleasant View, TN 37216
ian.h.lucas@protonmail.com
ianhunterlucas@outlook.com




                                                   Kevin C. Klein




                                              2

Case 3:24-cv-01359      Document 1-3       Filed 11/15/24    Page 69 of 131 PageID #: 126
     EFILED 10/24/24 02:14 PM CASE NO. 24C2481 Joseph P. Day, Clerk




Case 3:24-cv-01359    Document 1-3      Filed 11/15/24    Page 70 of 131 PageID #: 127
        EFILED 10/29/24 08:31 PM CASE NO. 24C2481 Joseph P. Day, Clerk




           IN THE CIRCUIT COURT FOR THE STATE OF TENNESSEE
            TWENTHIETH JUDICIAL DISTRICT, DAVIDSON COUNTY
                             AT NASHVILLE

       IAN HUNTER LUCAS                      )
Plaintiff,                                   )                           Case No. 24C2481
              V.                             )                           JURY DEMAND
                                             )
                                             )
VANDERBILT UNIVERSITY et al.                 )
Defendants.                                  )


                         MOTION FOR RECUSAL OF JUDGE

   COMES NOW the Plaintiff, Ian Hunter Lucas, pro se, and respectfully moves this

Honorable Court for an order recusing the assigned judge from presiding over this

matter. This motion is filed in compliance with all applicable local rules regarding

recusal motions. In support of this motion, Plaintiff states as follows:

   1. Introduction:

          o   This motion is brought pursuant to the principles of judicial impartiality

              and fairness as fundamental tenets of the justice system.

   2. Background:

          o   The Plaintiff has filed the present lawsuit against Vanderbilt University,

              among other defendants, alleging breach of contract, discrimination and

              other claims.

   3. Grounds for Recusal:

          o   The judge's alumni status with Vanderbilt University creates an

              appearance of potential bias or conflict of interest that could reasonably

              question the judge's impartiality in this matter. As objective evidence of

              this relationship, the judge's publicly available profile from the court’s
                                          Page 1 of 5

  Case 3:24-cv-01359      Document 1-3     Filed 11/15/24    Page 71 of 131 PageID #: 128
     EFILED 10/29/24 08:31 PM CASE NO. 24C2481 Joseph P. Day, Clerk




           website endorses such alumni relationship. The judge's alumni status with

           Vanderbilt University creates an appearance of potential bias or conflict of

           interest that could reasonably question the judge's impartiality in this

           matter. The Plaintiff has verified this information through reliable sources

           and asserts that this potential conflict is not based on mere speculation or

           unsubstantiated claims.

 4. Legal Standard:

       o   While there is no presumption of bias solely based on educational

           background, the relationship between the judge and the defendant

           institution in this case could give rise to reasonable concerns about the

           judge's ability to remain impartial. In similar cases, such as Caperton v.

           A.T. Massey Coal Co., 556 U.S. 868 (2009), the Supreme Court held that

           recusal was necessary when there was a probability of bias, even without

           proof of actual bias. Additionally, in in re Murchison, 349 U.S. 133 (1955),

           the Court emphasized that "justice must satisfy the appearance of justice.

           “a person of ordinary prudence in the judge's position, knowing all of the

           facts known to the judge, would find a reasonable basis for questioning the

           judge's impartiality.".

 5. Argument:

       o   While there is no presumption of bias solely based on educational

           background, the relationship between the judge and the defendant

           institution in this case could give rise to reasonable concerns about the

           judge's ability to remain impartial.

                                      Page 2 of 5

Case 3:24-cv-01359     Document 1-3     Filed 11/15/24    Page 72 of 131 PageID #: 129
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       o   The appearance of impartiality is as crucial as actual impartiality to

           maintain public confidence in the judiciary.

 6. Conclusion:

       o   Considering the above, Plaintiff respectfully requests that the Court grant

           this motion for recusal to ensure a fair and impartial adjudication of the

           case.

       o   In the event that recusal is not possible or practical, Plaintiff proposes the

           following alternative remedies: (1) full disclosure of the judge's relationship

           with Vanderbilt University on the record, (2) allowing the parties to file

           additional motions addressing any perceived conflicts, or (3) appointment of

           a special master to oversee certain aspects of the case that may be

           particularly sensitive to the potential conflict.

       o   Plaintiff acknowledges that granting this motion for recusal may impact

           the case timeline. However, Plaintiff believes that any short-term delay in

           proceedings is outweighed by the long-term benefits of ensuring a fair and

           impartial trial. Plaintiff is prepared to work with the Court and opposing

           counsel to minimize any disruption to the case schedule.

       o   Plaintiff has not yet had the opportunity to confer with opposing counsel

           regarding this motion for recusal or the proposed alternatives. Plaintiff is

           willing to discuss these matters with opposing counsel and the Court to

           reach a mutually agreeable resolution that ensures the fairness and

           impartiality of these proceedings.



                                       Page 3 of 5

Case 3:24-cv-01359     Document 1-3      Filed 11/15/24   Page 73 of 131 PageID #: 130
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      WHEREFORE, Plaintiff Ian Hunter Lucas respectfully prays that this Court

enter an order recusing the Honorable Judge C. David Briley from further participation

in this case, appointing a substitute judge, and reassigning the matter to said judge.

      Plaintiff further requests that the Court ensure the continuation of proceedings

without undue delay following the recusal and reassignment of the case.

      Plaintiff requests that upon granting this motion for recusal, the case be

reassigned according to the Court's established procedures for judicial reassignment,

which typically involve random assignment to another judge within the same judicial

district who does not have any potential conflicts of interest with the parties involved.

                                                                     Respectfully submitted,

                                                                         /s/ Ian Hunter Lucas

                                                                          Ian Hunter Lucas
                                                                                     Pro Se
                                                                                P.O. Box 61
                                                                  Elizabethtown, NC, 28337
                                                                             (910) 872-3577
                                                                   Ian.h.lucas@outlook.com
                                                                Ian.h.lucas@protonmail.com

                                                         Plaintiff, Ian Hunter Lucas, Pro Se




                                         Page 4 of 5

  Case 3:24-cv-01359     Document 1-3      Filed 11/15/24    Page 74 of 131 PageID #: 131
        EFILED 10/29/24 08:31 PM CASE NO. 24C2481 Joseph P. Day, Clerk




CERTIFICATE OF SERVICE

I hereby certify that on this 30th day of October 2024, a true and correct copy of the
foregoing Motion for Recusal of Judge was filed electronically. Notice of this filing will be
sent by operation of the Court’s electronic filing system to all parties indicated on the
electronic filing receipt. Parties may access this filing through the Court’s electronic
filing system.
                                                                        /s/ Ian Hunter Lucas
                                                                              Ian Hunter Lucas
                                                                                         Pro Se
                                                                                    P.O. Box 61
                                                                    Elizabethtown, NC, 28337
                                                                                 (910) 872-3577
                                                                      Ian.h.lucas@outlook.com
                                                                 Ian.h.lucas@protonmail.com
                                                          Plaintiff, Ian Hunter Lucas, Pro Se




                                          Page 5 of 5

  Case 3:24-cv-01359      Document 1-3     Filed 11/15/24    Page 75 of 131 PageID #: 132
         EFILED 10/30/24 08:30 AM CASE NO. 24C2481 Joseph P. Day, Clerk




                                      Notice of Motion




                IN THE CIRCUIT COURT FOR DAVIDSON COUNTY, TENNESSEE
   IAN HUNTER LUCAS                                   )
                                                      )          No. 24C2481
   Plaintiff,                                         )
                                                      )
   vs.                                                )
                                                      )
   VANDERBILT UNIVERSITY et al.,                      )
   Defendant(s).                                      )



                                           PLANTIFF's
                       NOTICE OF MOTION FOR RECUSAL OF JUDGE

  TO: All Counsel of Record (see attached list):

  PLEASE TAKE NOTICE that Plaintiff hereby moves this Court for a hearing on December 13th,
  2024, upon the accompanying papers submitted in support of motion, and all prior pleadings and
  filings, for an Order pursuant to other grounds for motion granting relief sought, and any other and
  further relief as the Court deems proper and equitable.




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     EFILED 10/30/24 08:30 AM CASE NO. 24C2481 Joseph P. Day, Clerk

                                   Notice of Motion (TN)


                                                                             /s/ IAN
                                                                             HUNTER
                                                                             LUCAS

                                                                             Ian Hunter
                                                                             Lucas

                                                                             By PRO SE

                                                                             PMB 61

                                                                             Elizabethtown,
                                                                             NC, 28337

                                                                             Telephone:
                                                                             (910) 872-3577

                                                                             Email:
                                                                             lucasianhunter
                                                                             @outlook.com

  Date: October 30, 2024




Case 3:24-cv-01359     Document 1-3      Filed
                                         Page 2
                                               11/15/24    Page 77 of 131 PageID #: 134
     EFILED 10/30/24 08:30 AM CASE NO. 24C2481 Joseph P. Day, Clerk

                                      Notice of Motion (TN)



                                 CERTIFICATE OF SERVICE

  I hereby certify that on October 30, 2024 a copy of the foregoing Plaintiff Ian Hunter Lucas's Notice

  of Motion for Recusal of assigned Judge was served on the following parties by Electronic Notice
  of Court E-Filling Systems and is available for viewing on the Court Clerks Website.

                                                                                      /s/ IAN
                                                                                      HUNTER
                                                                                      LUCAS
                                                                                      Ian Hunter
                                                                                      Lucas

                                                                                      By PRO SE

                                                                                      PMB 61
                                                                                      Elizabethtown,
                                                                                      NC, 28337

                                                                                      Telephone:
                                                                                      (910) 872-3577

                                                                                      Email:
                                                                                      lucasianhunter
                                                                                      @outlook.com

  Date: October 30, 2024




Case 3:24-cv-01359       Document 1-3       Filed
                                            Page 3
                                                  11/15/24      Page 78 of 131 PageID #: 135
    IN THE FIRST CIRCUIT COURT FOR DAVIDSON COUNTY, TENNESSEE AT
                              NASHVILLE


 IAN HUNTER LUCAS,             )
                               )
      Plaintiff,               )
                               )
                               )
 v.                            ) CASE NO. 24C2481
                               )
 THE VANDERBILT UNIVERSITY and
                               )
 VANDERBILT UNIVERSITY SCHOOL
                               )
 OF NURSING,
                               )
                               )
      Defendants.
                               )

                                             ORDER
        Before this Court are Plaintiff’s Motion to Recuse and Motion for Ex-Parte Temporary

Restraining Order. Based upon the written submissions and applying Tennessee Supreme Court

Rule 10B, the Court holds:

        1.     The only basis for recusal stated by the Plaintiff is: “The judge’s alumni status with

Vanderbilt University creates an appearance of potential bias or conflict of interest that could

reasonably question the judge’s impartiality in this matter.” Contrary to this assertion, the

undersigned judge is not an alumnus of Vanderbilt University nor has he ever attended that

institution.        The      undersigned       judge’s      bio     can      be     found      here:

(https://trialcourts.nashville.gov/judge-david-briley/). Further, Plaintiff’s Motion fails to comply

with Tennessee Supreme Court Rule 10B §1.01’s requirement that: “The motion [to recuse] shall

be supported by an affidavit under oath or a declaration under penalty of perjury on personal

knowledge and by other appropriate materials.” Based upon the foregoing, Plaintiff’s Motion to

Recuse is denied.




                                                 1

Case 3:24-cv-01359        Document 1-3        Filed 11/15/24      Page 79 of 131 PageID #: 136
        2.      Plaintiff’s Motion for Temporary Ex-Parte Restraining Order is also denied. The

Court will however hear argument on the propriety of a preliminary injunction addressing the same

requested relief on Friday December 13, 2024, at 1:00 p.m. Defendants shall file and serve their

response to Plaintiff’s Motion Temporary Ex-Parte Restraining Order as well as any supporting

evidence by the close of business Monday, December 9, 2024, and Plaintiff may file and serve a

reply to Defendants’ response by the close of business Wednesday, December 11, 2024. The

parties are directed to Davidson County Local Rule 19 for information regarding hearings on

requests for extraordinary relief in civil cases.

        It is so ORDERED.
        Entered this 31st day of October, 2024.

                                                         _________________________________
                                                                    JUDGE C. DAVID BRILEY




                                                    2

Case 3:24-cv-01359         Document 1-3        Filed 11/15/24   Page 80 of 131 PageID #: 137
                                CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing has been sent via Notice of
Electronic Filing through the clerk’s e-file system and/or to the last provided physical and email
addresses.
Ian Hunter Lucas
221 Charleston Avenue
Pleasant View, TN 37216
ian.h.lucas@protonmail.com
ianhunterlucas@outlook.com

Kevin C. Klein (TN Bar No. 23301)
Matthew “JP” Horton, II (TN Bar No. 038724)
Klein Solomon Mills, PLLC
1322 4th Avenue North
Nashville, Tennessee 37208
kevin.klein@kleinpllc.com
jp.horton@kleinpllc.com

On this the 31st day of October, 2024


                                                                  /s/ Marian Kohl
                                                                Deputy Clerk




                                                3

Case 3:24-cv-01359       Document 1-3        Filed 11/15/24     Page 81 of 131 PageID #: 138
   Case Title:                LUCAS V VANDERBILT UNIVERSITY

   Case Number:               24C2481

   Type:                      ORDER- GENERAL



                                                         The foregoing is hereby ORDERED, ADJUDGED
                                                         AND DECREED:




                                                         Judge C. David Briley, First Circuit



   Electronically signed on 10/31/2024 01:44 PM   page 4 of 4




Case 3:24-cv-01359             Document 1-3             Filed 11/15/24     Page 82 of 131 PageID #: 139
     IN THE FIRST CIRCUIT COURT FOR THE TWENTHIETH JUDICIAL
                      DISTRICT AT NASHVILLE

       IAN HUNTER LUCAS                       )
Plaintiff,                                    )                     Case No. 24C2481
              V.                              )                     JURY DEMAND
                                              )
                                              )
VANDERBILT UNIVERSITY et al.                  )
Defendants.                                   )
                                              )

                                         ORDER

THIS MATTER came before the Court on the Plaintiff's Motion for Preliminary

Injunction. Upon consideration of the motion, the evidence presented, and the

arguments of counsel, the Court finds as follows:

I. FINDINGS OF FACT

   1. Plaintiff, Ian Hunter Lucas, is a former professional nursing student at

      Vanderbilt University and its Vanderbilt University School of Nursing in the

      Master of Nursing Program (MN) to obtain professional status as a Registered

      Nurse with intent on graduation and pursuing a Doctor of Nursing Practice

      (DNP) and Post Master Certificate (PMC) as part of a follow on DNP+PMC to

      obtain professional status as a Advanced Practice Registered Nurse commonly

      referred to as a ‘Nurse Practitioner’

   2. Plaintiff had signed a contract with Vanderbilt University Medical Center as a

      Nurse Scholar with guaranteed full time employment as a Registered Nurse

      Resident post-graduation, and additionally with scholarship funds provided for

      his program of study to include an initial payment of $22,500.00.



                                        Page 1 of 5

 Case 3:24-cv-01359     Document 1-3      Filed 11/15/24   Page 83 of 131 PageID #: 140
  3. Defendant, Vanderbilt University, has undertaken actions to expel, academically

     dismiss, prevent class attendance, or alter the academic status of the Plaintiff.

  4. Plaintiff has shown a substantial likelihood of success on the merits of his claims.

  5. Plaintiff has and will continue to suffer irreparable harm if the preliminary

     injunction is not granted, as the Defendant's actions will significantly impact his

     academic and professional future.

  6. The balance of hardships favors the Plaintiff, as the potential harm to the

     Plaintiff outweighs any potential harm to the Defendant.

  7. Granting the preliminary injunction serves the public interest by ensuring that

     educational institutions adhere to fair and just procedures.

II. CONCLUSIONS OF LAW

  1. Under Tennessee law, a preliminary injunction is warranted when the movant

     demonstrates: (1) a substantial likelihood of success on the merits; (2) a threat of

     irreparable harm if the injunction is not granted; (3) that the balance of hardships

     tips in the movant's favor; and (4) that the public interest is not disserved by the

     injunction. See Johnson v. City of Clarksville, 2003 Tenn. App. LEXIS 413; Sons

     of Confederate Veterans v. City of Memphis, 2019 Tenn. App. LEXIS 279.

  2. Plaintiff has satisfied all the requirements for the issuance of a preliminary

     injunction.




                                       Page 2 of 5

 Case 3:24-cv-01359    Document 1-3      Filed 11/15/24   Page 84 of 131 PageID #: 141
III. ORDER

Based on the foregoing findings of fact and conclusions of law, it is hereby ORDERED

that:

   1. Defendant, Vanderbilt University, is restrained and enjoined from expelling,

        academically dismissing, preventing class attendance, or altering the academic

        status of the Plaintiff, Ian Hunter Lucas, pending further order of this Court.

   2. This Order shall remain in effect until further order of this Court.

SO ORDERED, this 13th day of December 2024



                                                  ______________________________________

                                                                     Judge C. David Briley




                                         Page 3 of 5

  Case 3:24-cv-01359      Document 1-3     Filed 11/15/24   Page 85 of 131 PageID #: 142
                                                              Respectfully Prepared,

                                                              /s/ Ian Hunter Lucas

                                                                  Ian Hunter Lucas
                                                                             Pro Se
                                                                        P.O. Box 61
                                                          Elizabethtown, NC, 28337
                                                                     (910) 872-3577
                                                           Ian.h.lucas@outlook.com
                                                        Ian.h.lucas@protonmail.com

                                                  Plaintiff, Ian Hunter Lucas, Pro Se




                                    Page 4 of 5

Case 3:24-cv-01359   Document 1-3    Filed 11/15/24   Page 86 of 131 PageID #: 143
CERTIFICATE OF SERVICE

I hereby certify that on this 3rd day of November 2024, a true and correct copy of the
foregoing proposed Order for Preliminary Injunction was filed electronically. Notice of
this filing will be sent by operation of the Court’s electronic filing system to all parties
indicated on the electronic filing receipt. Parties may access this filing through the
Court’s electronic filing system.
                                                                        /s/ Ian Hunter Lucas
                                                                              Ian Hunter Lucas
                                                                                         Pro Se
                                                                                    P.O. Box 61
                                                                    Elizabethtown, NC, 28337
                                                                                 (910) 872-3577
                                                                      Ian.h.lucas@outlook.com
                                                                 Ian.h.lucas@protonmail.com
                                                          Plaintiff, Ian Hunter Lucas, Pro Se




                                          Page 5 of 5

  Case 3:24-cv-01359      Document 1-3     Filed 11/15/24    Page 87 of 131 PageID #: 144
        EFILED 11/04/24 08:21 PM CASE NO. 24C2481 Joseph P. Day, Clerk




      IN THE SECOND CIRCUIT COURT FOR THE TWENTHIETH JUDICIAL
               DISTRICT, DAVIDSON COUNTY AT NASHVILLE

IAN HUNTER LUCAS                            )
Plaintiff,                                  )
             V.                             )                            No: 24C2481
                                            )
                                            )
STATE OF TENNESSEE et al.                   )
Defendants.                                 )


                      DECLARATION OF IAN HUNTER LUCAS

I, Ian Hunter Lucas, declare as follows:

   1. Personal Information

      a. I am the Plaintiff in the matter of Ian Hunter Lucas v. State of Tennessee et

      al., Case No. 24C1883, currently pending in the Second Circuit Court for the

      Twentieth Judicial District, Davidson County at Nashville.

      b. My contact information is as follows:

         o   Address: PMB 61, Elizabethtown, NC, 28337

         o   Phone: (910) 872-3577

         o   Email: Ian.lucas@protonmail.com, Ian.lucas@lucasgrayllc.org

   2. Efforts to Contact Opposing Counsel

      a. Since the commencement of this case, I have made diligent efforts to engage

      with the opposing counsel to explore informal resolution or mediation.

      b. I have sent multiple emails to the opposing counsel at their official email

      address(es), detailing my willingness to discuss potential settlement or

      alternative dispute resolution mechanisms.

      c. In addition to email correspondence, I have attempted to reach the opposing


  Case 3:24-cv-01359     Document 1-3      Filed 11/15/24    Page 88 of 131 PageID #: 145
          EFILED 11/04/24 08:21 PM CASE NO. 24C2481 Joseph P. Day, Clerk




        counsel through other written communications, including letters sent via certified

        mail to their office address, and have ensured that these communications were

        delivered.

    3. Responses from Opposing Counsel

        a. Despite my repeated attempts, I have not received any response from the

        opposing counsel regarding my requests to arrange an informal meeting,

        mediation session, or any other form of settlement discussion.

        b. Prior responses from the opposing counsel, when initially contacted, indicated

        an unwillingness to settle or engage in any resolution processes outside of court

        procedures.

    4. Conclusion

        a. I affirm that I have made all reasonable efforts to contact and negotiate with

        the opposing counsel in good faith, seeking a fair and amicable resolution to the

        issues in this case.

        b. It is my sincere belief that further attempts at direct communication are

        unlikely to yield a different outcome based on the current circumstances and

        previous interactions.

I declare under penalty of perjury under the laws of the State of Tennessee that the

foregoing is true and correct to the best of my knowledge and belief.

Executed on this 5th day of November, 2024.

/s/ Ian Hunter Lucas

Ian Hunter Lucas




  Case 3:24-cv-01359       Document 1-3      Filed 11/15/24    Page 89 of 131 PageID #: 146
          EFILED 11/04/24 08:21 PM CASE NO. 24C2481 Joseph P. Day, Clerk




CERTIFICATE OF SERVICE

I, Ian Hunter Lucas, hereby certify that on this 5th day of November, 2024, a true and

correct copy of the foregoing Declaration of Ian Hunter Lucas was served upon the

following parties via the Court's electronic filing system:

    •   Kevin C. Klein,Esq and JP Horton, Esq

    •   Klein Solomon Mills PLLC

    •   Kevin.Klein@kleinpllc.com, jp.horton@kleinpllc.org

I declare under penalty of perjury under the laws of the State of Tennessee that the

foregoing is true and correct to the best of my knowledge and belief.

Executed on this 5th day of November, 2024.



/s/ Ian Hunter Lucas

Plaintiff Pro Se




  Case 3:24-cv-01359       Document 1-3      Filed 11/15/24    Page 90 of 131 PageID #: 147
                IN THE CIRCUIT COURT OF DAVIDSON COUNTY, TENNESSEE
                  FOR THE TWENTIETH JUDICIAL DISTRICT AT NASHVILLE

IAN LUCAS                                            )
      Plaintiff                                      )
                                                     )
vs.                                                  )           No: 24C2481
                                                     )           Div. 1
VANDERBILT UNIVERSITY                                )
    Defendant                                        )


                      EXPEDITED MOTION TO COMPEL MEDIATION
COMES NOW, the Plaintiff, Ian Hunter Lucas, acting pro se, and hereby moves this Honorable Court to

compel mediation in the matter against the Defendant, Vanderbilt University. In support of this Motion,

Plaintiff states as follows:

      1. The Plaintiff has initiated this action against the Defendant alleging discrimination based on

          disability, retaliation, breach of contract, and other wrongful actions that have resulted in

          significant harm to Plaintiff’s academic and professional future.

      2. Plaintiff asserts that mediation could provide an efficient, cost-effective, and amicable resolution

          to the disputes between the parties, potentially avoiding the need for further prolonged litigation

          and judicial intervention.

      3. Mediation is likely to expedite the resolution of key issues in this case, alleviate ongoing harm to

          the Plaintiff, and advance the interests of justice.

      4. The parties have been unable to resolve their disputes through informal means, and formal

          mediation is necessary to facilitate a fair and comprehensive settlement.

      5. Compelling mediation is in the best interest of both parties and the court, conserving judicial

          resources and promoting a timely resolution of the matter.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court:

a. Compel the parties to participate in mediation to address and attempt to resolve all outstanding issues in

this matter.




Case 3:24-cv-01359             Document 1-3          Filed 11/15/24       Page 91 of 131 PageID #: 148
b. Order that the mediation process be completed by no later than [insert deadline date], ensuring

sufficient time prior to the scheduled Preliminary Injunction Hearing on December 13, 2024, at 1:00 PM;

c. Require the parties to agree on a mediator within [insert number] days of this Order, and if the parties

are unable to agree upon a mediator, that the Court appoint one;

d. Direct all parties to cooperate fully and participate in the mediation process in good faith;

e. Provide such other and further relief as the Court deems just and proper.



Dated: November 4, 2024



Respectfully submitted,


/s/ Ian Hunter Lucas

Ian Hunter Lucas
221 Charleston Avenue
Pleasant View, TN 37146
(910) 872-3577
ian.h.lucas@protonmail.com




                                                      2

Case 3:24-cv-01359           Document 1-3          Filed 11/15/24        Page 92 of 131 PageID #: 149
CERTIFICATE OF SERVICE
I hereby certify that on this 4th day of November, 2024, a true and correct copy of the foregoing
Motion to Compel Mediation was filed electronically. Notice of this filing will be sent by
operation of the Court’s electronic filing system to all parties indicated on the electronic filing
receipt. Parties may access this filing through the Court’s electronic filing system.

Respectfully submitted,

/s/ Ian Hunter Lucas
Ian Hunter Lucas
221 Charleston Avenue
Pleasant View, TN 37146
(910) 872-3577
ian.h.lucas@protonmail.com




                                                 3

Case 3:24-cv-01359        Document 1-3        Filed 11/15/24      Page 93 of 131 PageID #: 150
       EFILED 11/04/24 09:37 AM CASE NO. 24C2481 Joseph P. Day, Clerk




    IN THE FIRST CIRCUIT COURT OF
        THE TWENTIETH JUDICIAL
               DISTRICT
        FOR DAVIDSON COUNTY,
       TENNESSEE AT NASHVILLE

                                                        CASE NUMBER: 24C2481
   IAN HUNTER LUCAS
    Plaintiff,
    v.
   VANDERBILT UNIVERSITY
    Defendant.
         MOTION TO COMPEL MEDIATION PRIOR TO PRELIMINARY
                       INJUNCTION HEARING
   TO THE HONORABLE JUDGE OF SAID COURT:
   COMES NOW, Ian Hunter Lucas (hereinafter referred to as “Plaintiff”), by
   and through undersigned counsel, and respectfully moves this Court for an
   Order compelling mediation prior to the scheduled preliminary injunction
   hearing set for December 13, 2024. In support of this Motion, Plaintiff states
   as follows:
      I. INTRODUCTION
          1. This Motion arises in connection with the above-captioned action, which
             involves claims of breach of contract, tortious interference, etc..
          2. The Plaintiff believes that mediation may offer a more efficient and
             expeditious resolution of the disputes at issue, particularly in light of the
             impending hearing date, and will aid in promoting a mutually agreeable
             settlement of the controversies between the parties.

     II. BACKGROUND
          1. Plaintiff filed the original complaint in this matter on 10/13/2024
          2. On 10/17/2024, Defendant was served with the Summons and
             Complaint.
          3. Since the filing of the complaint, the parties have engaged in limited
             discussions regarding the possibility of resolution and have yet to reach
             any settlement agreement.




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       4. The11/04/24
      EFILED  preliminary   injunction
                      09:37 AM         hearing
                                CASE NO.       is currently
                                          24C2481  Joseph P.set forClerk
                                                             Day,   December 13,
           2024. In anticipation of this hearing, both parties have incurred
           substantial costs and resources.




    III. LEGAL AUTHORITY
       1. Tennessee Code Annotated § 29-24-101 permits courts to compel
          the use of alternative dispute resolution methods, including mediation,
          for the resolution of disputes.
       2. Tennessee courts have recognized the advantages of mediation in
          terms of cost efficiency, time savings, and the facilitation of
          communication between parties.
       3. It is well established that courts have the inherent authority to manage
          their dockets and ensure expedient resolutions to promote justice and
          efficiency.

    IV. ARGUMENT
       1. Mediation as a Favorable Precondition to Litigation
           a. It is the policy of the State of Tennessee to encourage the resolution
          of disputes through mediation prior to engaging in the full litigation
          process. b. Mediation provides the parties with a forum for open
          dialogue, enabling them to explore interests and settlement possibilities
          without the pressures associated with court proceedings.
       2. Judicial Economy and Resource Conservation
           a. Given the Court’s docket, judicial resources can be conserved
          through the mediation process. If successful, mediation may render the
          preliminary injunction hearing unnecessary, thus saving judicial
          resources and reducing the burden on the court. b. Mediation could
          lead to resolution of not only the issues present in the motion for
          preliminary injunction, but potentially resolve additional issues that may
          arise during the litigation.
       3. Potential for Settlement
           a. The Plaintiff believes that mediation will permit the parties to engage
          in constructive discussion, which may facilitate a settlement. b. In
          instances where the parties have previously engaged in mediation,
          many have found common ground and reached a resolution without
          needing to proceed to a hearing.

    V. RELIEF SOUGHT
    WHEREFORE, Plaintiff respectfully requests that this Honorable Court:
       1. Grant this Motion to Compel Mediation prior to the scheduled
          preliminary injunction hearing on December 13, 2024.
       2. Order the parties to participate in mediation and provide a report to the
          Court regarding the outcome.
       3. Extend the deadlines associated with the preliminary injunction
          hearing, precisely to enable the mediation process to take place.




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      EFILED 11/04/24 09:37 AM CASE NO. 24C2481 Joseph P. Day, Clerk




       4. Grant such other and further relief as the Court deems just and proper.

    VI. CERTIFICATE OF SERVICE
    I,Ian Hunter Lucas, do hereby certify that a true and correct copy of this
    Motion to Compel Mediation has been served upon all parties or their
    counsel in accordance with Rule 5 of the Tennessee Rules of Civil Procedure
    on this November 4th 2024.

    VII. CONCLUSION
    In conclusion, Plaintiff respectfully submits that mediation is a reasonable
    and prudent step prior to the upcoming preliminary injunction hearing. The
    parties stand to benefit from this process, and it may significantly assist in
    bringing the matter to a just and equitable resolution.
    Respectfully submitted this November 4th 2024


    /s/ Ian Hunter Lucas
    Ian Hunter Lucas
    Pro Se
    PMB 61
    Elizabethtown, NC, 28337
    (910) 872-3577
    Ian.h.lucas@outlook.com
    Plaintiff




Case 3:24-cv-01359     Document 1-3      Filed 11/15/24    Page 96 of 131 PageID #: 153
            IN THE FIRST CIRCUIT COURT OF DAVIDSON COUNTY, TENNESSEE
                FOR THE TWENTIETH JUDICIAL DISTRICT AT NASHVILLE

IAN LUCAS                                           ,
      Plaintiff                                     ,

vs.                                                           No: 24C2481
                                                              Div. 2
VANDERBILT UNIVERSITY                               ,
    Defendant                                       .


           MOTION FOR EXPEDITED HEARING ON MOTION TO COMPEL
           MEDIATION PRIOR TO PRELIMINARY INJUNCTION HEARING
      COMES NOW, the Plaintiff, Ian Hunter Lucas, acting pro se, and hereby moves this Honorable Court

to set an expedited hearing on Plaintiff’s Motion to Compel Mediation prior to the currently scheduled

Preliminary Injunction Hearing on December 13, 2024, at 1:00 PM. In support of this Motion, Plaintiff

states as follows:

      1. The Plaintiff has filed a Motion to Compel Mediation, seeking to resolve the underlying issues

          through mediation prior to the Preliminary Injunction Hearing. Mediation may provide an

          efficient, cost-effective, and amicable resolution to the disputes between the parties.

      2. The Preliminary Injunction Hearing is currently set for December 13, 2024, at 1:00 PM. Given

          the limited time before this hearing, an expedited hearing on the Motion to Compel Mediation is

          necessary to allow for sufficient time to conduct mediation and potentially avoid the need for

          further judicial intervention.

      3. An expedited hearing will not prejudice the Defendants. Instead, it may facilitate a timely and

          equitable resolution of the matter, reducing the need for prolonged litigation and conserving

          judicial resources.

      4. Plaintiff asserts that mediation could significantly expedite the resolution of key issues,

          alleviating ongoing harm and advancing the interests of justice in this case.




Case 3:24-cv-01359              Document 1-3        Filed 11/15/24        Page 97 of 131 PageID #: 154
WHEREFORE, Plaintiff respectfully requests that this Honorable Court:

a. Set an expedited hearing on Plaintiff’s Motion to Compel Mediation at the earliest possible date prior

to the Preliminary Injunction Hearing scheduled for December 13, 2024, at 1:00 PM;

b. Provide such other and further relief as the Court deems just and proper.

Dated: November 4, 2024

Respectfully submitted,


/s/ Ian Hunter Lucas

Ian Hunter Lucas
221 Charleston Avenue
Pleasant View, TN 37146
(910) 872-3577
ian.h.lucas@protonmail.com




                                                     2

Case 3:24-cv-01359          Document 1-3         Filed 11/15/24        Page 98 of 131 PageID #: 155
CERTIFICATE OF SERVICE
I hereby certify that on the 4th day of November 2024, a true and correct copy of the foregoing
Motion for Expedited Hearing on Motion to Compel Mediation Prior to Preliminary Injunction
Hearing was filed electronically. Notice of this filing will be sent by operation of the Court’s
electronic filing system to all parties indicated on the electronic filing receipt. Parties may access
this filing through the Court’s electronic filing system.

Respectfully submitted,

/s/ Ian Hunter Lucas

Ian Hunter Lucas
221 Charleston Avenue
Pleasant View, TN 37146
(910) 872-3577
ian.h.lucas@protonmail.com




                                                  3

Case 3:24-cv-01359         Document 1-3        Filed 11/15/24      Page 99 of 131 PageID #: 156
                IN THE CIRCUIT COURT OF DAVIDSON COUNTY, TENNESSEE
                  FOR THE TWENTIETH JUDICIAL DISTRICT AT NASHVILLE

IAN LUCAS                                           )
      Plaintiff                                     )
                                                    )
vs.                                                 )         No: 24C2481
                                                    )         Div. 1
VANDERBILT UNIVERSITY                               )
    Defendant                                       )



                                                   ORDER

Upon consideration of the Plaintiff’s Motion to Compel Mediation and the entire record herein, it is

hereby ORDERED as follows:

      1. The Motion to Compel Mediation filed by the Plaintiff, Ian Hunter Lucas, is GRANTED.

      2. The parties are hereby ordered to participate in mediation to address and attempt to resolve all

          outstanding issues in this matter.

      3. The mediation process shall be completed by no later than [insert deadline date], ensuring

          sufficient time prior to the scheduled Preliminary Injunction Hearing on December 13, 2024, at

          1:00 PM.

      4. The parties shall agree on a mediator within [insert number] days of this Order. If the parties are

          unable to agree upon a mediator, the Court will appoint one.

      5. All parties shall cooperate fully and participate in the mediation process in good faith.

      6. Nothing in this Order shall be construed to extend or modify any deadlines or hearing dates

          already set in this matter, unless otherwise ordered by the Court.

      7. The Court retains jurisdiction to enforce the terms of this Order and to impose sanctions on any

          party that fails to comply with this Order.

      8. The parties are to inform the Court of the mediation outcome within [insert number] days of its

          completion.




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SO ORDERED this ___ day of __________, 2024.


                                          __________________________________________
                                                                  Judge C. David Briely




                                               2

Case 3:24-cv-01359     Document 1-3      Filed 11/15/24   Page 101 of 131 PageID #: 158
                IN THE CIRCUIT COURT OF DAVIDSON COUNTY, TENNESSEE
                  FOR THE TWENTIETH JUDICIAL DISTRICT AT NASHVILLE

IAN LUCAS                                           )
      Plaintiff                                     )
                                                    )
vs.                                                 )         No: 24C2481
                                                    )         Div. 2
VANDERBILT UNIVERSITY                               )
    Defendant                                       )


                            ORDER SETTING EXPEDITED HEARING
Upon consideration of the Plaintiff’s Motion for Expedited Hearing on Plaintiff’s Motion to Compel

Mediation, and for good cause shown, it is hereby ORDERED as follows:

      1. The Motion for Expedited Hearing is GRANTED.

      2. An expedited hearing on Plaintiff’s Motion to Compel Mediation shall be set and is to be held on

          the ___ day of __________, 2024, at : AM/PM.

      3. The expedited hearing shall address the issues raised in Plaintiff’s Motion to Compel Mediation,

          including but not limited to the potential for resolving the underlying disputes through mediation

          prior to the scheduled Preliminary Injunction Hearing on December 13, 2024, at 1:00 PM.

      4. All parties are directed to appear and be prepared to address all matters related to the Motion to

          Compel Mediation.

      5. The Clerk of this Court is directed to notify all parties of the date and time of the expedited

          hearing.

SO ORDERED this ___ day of __________, 2024.

                                                                   __________________________________

                                                                                        Judge C. David Briley




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Case 3:24-cv-01359   Document 1-3   Filed 11/15/24   Page 103 of 131 PageID #: 160
                IN THE CIRCUIT COURT OF DAVIDSON COUNTY, TENNESSEE
                  FOR THE TWENTIETH JUDICIAL DISTRICT AT NASHVILLE

IAN LUCAS                                           )
      Plaintiff                                     )
                                                    )
vs.                                                 )         No: 24C2481
                                                    )         Div. 2
VANDERBILT UNIVERSITY                               )
    Defendant                                       )


                            ORDER SETTING EXPEDITED HEARING
Upon consideration of the Plaintiff’s Motion for Expedited Hearing on Plaintiff’s Motion to Compel

Mediation, and for good cause shown, it is hereby ORDERED as follows:

      1. The Motion for Expedited Hearing is GRANTED.

      2. An expedited hearing on Plaintiff’s Motion to Compel Mediation shall be set and is to be held on

          the ___ day of __________, 2024, at : AM/PM.

      3. The expedited hearing shall address the issues raised in Plaintiff’s Motion to Compel Mediation,

          including but not limited to the potential for resolving the underlying disputes through mediation

          prior to the scheduled Preliminary Injunction Hearing on December 13, 2024, at 1:00 PM.

      4. All parties are directed to appear and be prepared to address all matters related to the Motion to

          Compel Mediation.

      5. The Clerk of this Court is directed to notify all parties of the date and time of the expedited

          hearing.

SO ORDERED this ___ day of __________, 2024.

                                                                   __________________________________

                                                                                        Judge C. David Briley




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       EFILED 11/07/24 06:27 PM CASE NO. 24C2481 Joseph P. Day, Clerk




  IN THE FIRST CIRCUIT FOR THE TWENTHIETH JUDICIAL DISTRICT,
                 DAVIDSON COUNTY AT NASHVILLE

IAN HUNTER LUCAS                           )
Plaintiff,                                 )
             V.                            )                            Case No. 24C2481
                                           )                            JURY DEMAND
                                           )
VANDERBILT UNIVERSITY et al.               )
Defendants.                                )



      PLAINTIFF'S MEMORANDUM OF LAW IN SUPPORT OF MOTION TO

                                COMPEL MEDIATION

 I.      Introduction

      The plaintiff respectfully submits this memorandum of law in support of the

 motion to compel mediation. Mediation is a valuable tool for dispute resolution,

 recognized and enforceable under Tennessee law. The plaintiff seeks an order

 compelling the parties to engage in mediation to resolve the present dispute.



 II. Legal Standard

      Under Tennessee law, courts have the authority to order parties to participate in

 mediation. Tennessee Supreme Court Rule 31 explicitly provides that, upon motion of

 either party or on its own motion, a court may order the parties to an eligible civil

 action to participate in mediation or other appropriate alternative dispute resolution

 proceedings Harris v. Hall, 2001 Tenn. App. LEXIS 856. This rule underscores the

 judiciary's commitment to making the dispute resolution process more efficient,

 economical, and fair.


                                        Page 1 of 5

Case 3:24-cv-01359      Document 1-3     Filed 11/15/24    Page 105 of 131 PageID #: 162
      EFILED 11/07/24 06:27 PM CASE NO. 24C2481 Joseph P. Day, Clerk




 III. Enforceability of Mediation Agreements

    Mediation agreements in Tennessee are treated as contracts and are enforceable

 under contract law principles. Until approved by the courts, a mediated agreement is

 essentially contractual in nature PNC Multifamily Capital Institutional Fund XXVI

 L.P. v. Mabry, 402 S.W.3d 654. Tennessee courts consistently apply the principles of

 contract law to determine whether a mediated agreement can form the basis for a

 judgment. This means that a mediated agreement, once reduced to writing and

 signed by both parties, is construed and enforced in the same manner as other

 contracts. Green v. YMCA of Memphis & the Mid-South, 2015 Tenn. App. LEXIS 891



 IV. Statutory and Case Law Support

    Tennessee Code Annotated (T. C. A. ) 29-5-303 provides that a court must

 distinguish between arguments attacking an agreement that can be resolved solely

 as a matter of law and those requiring resolution of factual issues. This statute

 supports the necessity of an evidentiary hearing when facts related to an arbitration

 agreement are disputed. Although this statute specifically addresses arbitration, its

 principles are applicable to mediation agreements as well.

    Furthermore, Tennessee Supreme Court Rule 31, Section 3, allows courts to order

 mediation in eligible civil actions, reinforcing the statutory framework that supports

 the plaintiff's motion to compel mediation.




                                       Page 2 of 5

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      EFILED 11/07/24 06:27 PM CASE NO. 24C2481 Joseph P. Day, Clerk




 V. Potential Counterarguments



 1. Lack of Jurisdiction or Authority: A potential counterargument could be that

 the court lacks the jurisdiction or authority to compel mediation in this particular

 case. However, Tennessee Supreme Court Rule 31 explicitly grants courts the

 authority to order mediation in eligible civil actions, thereby addressing this concern.



 2. Inapplicability of Mediation: Another counterargument might be that

 mediation is not appropriate for the specific nature of the dispute. The plaintiff can

 counter this by demonstrating that mediation is a flexible and adaptable process

 suitable for a wide range of disputes, and that it can provide a more efficient and

 economical resolution.



 3. Previous Attempts at Mediation: The opposing party might argue that previous

 attempts at mediation have failed, and therefore, compelling mediation would be

 futile. The plaintiff can respond by emphasizing that the court-ordered mediation

 process, with the court's oversight, may provide a different and more structured

 environment that could lead to a successful resolution.



 4. Contractual Provisions: The defendant may argue that the contract between the

 parties does not include a mediation clause, or explicitly excludes mediation. The

 plaintiff can counter this by highlighting that Tennessee courts have the authority to

                                       Page 3 of 5

Case 3:24-cv-01359     Document 1-3     Filed 11/15/24    Page 107 of 131 PageID #: 164
      EFILED 11/07/24 06:27 PM CASE NO. 24C2481 Joseph P. Day, Clerk




 order mediation regardless of the presence or absence of a mediation clause in the

 contract.



    VI. Conclusion

    For the reasons stated above, the plaintiff respectfully requests that this Court

 grant the motion to compel mediation. Mediation is a recognized and enforceable

 method of dispute resolution under Tennessee law, and compelling mediation in this

 case will promote an efficient, economical, and fair resolution of the dispute.



 Respectfully submitted,

    /s/ Ian H. Lucas
    Ian H. Lucas
    Pro Se
    PMB 61
    Elizabethtown, NC, 28337
    (910) 872-3577
    ianhunterlucas@outlook.com

    Plaintiff Pro Se




                                       Page 4 of 5

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        EFILED 11/07/24 06:27 PM CASE NO. 24C2481 Joseph P. Day, Clerk




CERTIFICATE OF SERVICE

I hereby certify that on this 8th day of November, 2024, a true and correct copy of the

foregoing Plaintiff's Memorandum of Law in Support of Motion to Compel Mediation was

served via the Court's electronic filing system. All parties have been served in

accordance with the applicable rules of the Tennessee state courts.

Respectfully submitted,

/s/ Ian H. Lucas

Ian H. Lucas

Plaintiff Pro Se

PMB 61

Elizabethtown, NC, 28337

(910) 872-3577

ianhunterlucas@outlook.com




                                         Page 5 of 5

 Case 3:24-cv-01359       Document 1-3    Filed 11/15/24    Page 109 of 131 PageID #: 166
       EFILED 11/07/24 12:15 PM CASE NO. 24C2481 Joseph P. Day, Clerk




   IN THE FIRST CIRCUIT FOR THE TWENTHIETH JUDICIAL DISTRICT,
                  DAVIDSON COUNTY AT NASHVILLE

IAN HUNTER LUCAS                           )
Plaintiff,                                 )
             V.                            )                            Case No. 24C2481
                                           )                            JURY DEMAND
                                           )
VANDERBILT UNIVERSITY et al.               )
Defendants.                                )



                                NOTICE OF HEARING

      Please take notice that a hearing on the Motion to Compel Mediation in the

above-captioned case has been scheduled as follows:

Date: December 13, 2024

Time: 1:00 p.m.

Location: Davidson County Courthouse and City Hall, 1 Public Square, Nashville, TN

      The purpose of this hearing is to address the MOTION TO COMPEL

MEDIATION Please ensure your attendance and have any necessary

documentation or materials ready for presentation.

Thank you for your attention to this matter.

Respectfully Submitted,

/s/ Ian H. Lucas
Ian H. Lucas
Pro Se
379 Happy Valley Road
Elizabethtown, NC, 28337
(910) 872-3577
ian.h.lucas@outlook.com
ian.h.lucas@protonmail.com
Plaintiff


                                        Page 1 of 2

 Case 3:24-cv-01359     Document 1-3     Filed 11/15/24    Page 110 of 131 PageID #: 167
        EFILED 11/07/24 12:15 PM CASE NO. 24C2481 Joseph P. Day, Clerk




Certificate of Service

I hereby certify that on November 7, 2024, true and correct copy of the foregoing Notice

of Hearing was filed and served electronically via the Clerk's Electronic Filing System

on all counsel of record.

Sincerely,

/s/ Ian H. Lucas
Ian H. Lucas
Pro Se
379 Happy Valley Road
Elizabethtown, NC, 28337
(910) 872-3577
ian.h.lucas@outlook.com
ian.h.lucas@protonmail.com
Plaintiff




                                           Page 2 of 2

 Case 3:24-cv-01359         Document 1-3   Filed 11/15/24   Page 111 of 131 PageID #: 168
         IN THE FIRST CIRCUIT COURT OF DAVIDSON COUNTY, TENNESSEE
             FOR THE TWENTIETH JUDICIAL DISTRICT AT NASHVILLE

IAN LUCAS                                     )
      Plaintiff                               )
                                              )
vs.                                           )        No: 24C2481
                                              )        Div. 1
VANDERBILT UNIVERSITY                         )
    Defendant                                 )




  PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION

                             FOR PRELIMINARY INJUNCTION

I. Introduction

The plaintiff, Ian Lucas, has filed a motion seeking a preliminary injunction against Vanderbilt

University and related individuals. Mr. Lucas, a former graduate nursing student with a

recognized physical disability, alleges that the defendants have engaged in discriminatory and

retaliatory actions that have unjustly hindered his academic progress and led to his dismissal and

expulsion from the university. The motion aims to prevent further irreparable harm to Mr.

Lucas's academic standing, future career opportunities, emotional health, and reputation.

II. Background

Ian Lucas was enrolled as a graduate nursing student at Vanderbilt University and was registered

with the university's Student Disability Services. He claims that the defendants discriminated

against him based on his disability and retaliated against him for exercising his rights. The

specific allegations include unfair academic dismissal, expulsion, and being labeled as a threat

by university police, which resulted in additional punitive measures against him.




Case 3:24-cv-01359       Document 1-3        Filed 11/15/24      Page 112 of 131 PageID #: 169
Mr. Lucas reports that these retaliatory actions followed his complaints about violations of equal

opportunity access. He further alleges that the defendants engaged in witness intimidation and

obstruction of justice. The plaintiff has provided evidence such as emails and other documents to

support his claims.

III. Argument

A. Likelihood of Success on the Merits

The plaintiff argues that there is a strong likelihood of success on the merits of his claims, which

include:

·Discrimination: Evidence suggests the plaintiff was discriminated against due to his disability.

·Retaliation: Defendants' actions appear to be in retaliation for the plaintiff's complaints about

violations of equal opportunity access.

·Breach of Contract: The defendants' actions violated contractual obligations to the plaintiff as

a student.

B. Irreparable Harm

The plaintiff asserts that he is experiencing ongoing irreparable harm, including:

·Hindrance to Academic Progress: The plaintiff's education has been unjustly interrupted.

·Career Opportunities: The plaintiff's future career as a nursing professional is significantly

jeopardized.

·Emotional and Reputational Damage: The plaintiff is suffering severe emotional distress and

damage to his reputation.

C. Balance of Equities




                                                 2

Case 3:24-cv-01359       Document 1-3        Filed 11/15/24      Page 113 of 131 PageID #: 170
The balance of equities tips in favor of the plaintiff, as granting the injunction will prevent

further harm to the plaintiff's academic and professional future without causing undue burden to

the defendants.

D. Public Interest

Issuance of the preliminary injunction aligns with the public interest by:

·Ensuring Fairness in Education: Upholding principles of fairness and non-discrimination in

educational institutions.

·Augmenting Healthcare Workforce: Facilitating the plaintiff's uninterrupted education,

contributing to the public welfare amidst a national nursing shortage.

IV. Prayer for Relief

The plaintiff respectfully requests that this court:

1.Issue a preliminary injunction ordering the defendants to reinstate the plaintiff to Vanderbilt

University and the Vanderbilt School of Nursing Master of Nursing Program immediately, with

all associated rights and privileges.

2.Expunge any academic disciplinary actions from the plaintiff’s university records that arose

from the alleged incidents.

3.Grant any further relief the court deems just and proper.

Respectfully Submitted,

/s/ Ian H. Lucas

Ian H. Lucas
Pro Se
PMB 61
Elizabethtown, NC, 28336
(910) 872-3577
ianhunterlucas@outlook.com




                                                   3

Case 3:24-cv-01359          Document 1-3      Filed 11/15/24      Page 114 of 131 PageID #: 171
CERTIFICATE OF SERVICE

I hereby certify that on this November 11, 2024 a true and correct copy of the Plaintiff’s

Memorandum of Law in Support of Plaintiff’s Motion for Preliminary Injunction was filed

electronically. Notice of this filing will be sent by the Court's electronic filing system to all

parties indicated on the electronic filing receipt. Parties may access this filing through the

Court’s electronic filing system.

Respectfully submitted,

/s/ Ian H. Lucas
Ian H. Lucas
Pro Se
PMB 61
Elizabethtown, NC, 28336
(910) 872-3577
ianhunterlucas@outlook.com




                                                   4

Case 3:24-cv-01359        Document 1-3         Filed 11/15/24      Page 115 of 131 PageID #: 172
           IN THE FIRST CIRCUIT COURT OF DAVIDSON COUNTY, TENNESSEE
               FOR THE TWENTIETH JUDICIAL DISTRICT AT NASHVILLE

IAN HUNTER LUCAS
                                                   )
         Plaintiff                                 )
                                                   )
vs.                                                )         No: 24C2481
                                                   )         Div. 1
VANDERBILT UNIVERSITY                              )
    Defendant                                      )


                PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

I. Introduction

Plaintiff, Ian Lucas, respectfully submits this Motion for Preliminary Injunction against Vanderbilt

University. Plaintiff alleges that the university has engaged in discriminatory and retaliatory actions that

have severely hindered his academic progress, leading to his dismissal and expulsion. The plaintiff seeks

immediate judicial intervention to prevent further irreparable harm to his academic standing, career

opportunities, emotional health, and reputation.

II. Background

Ian Lucas, a former graduate nursing student with a recognized physical disability, was registered with

Vanderbilt University's Student Disability Services. Despite these accommodations, the plaintiff faced

discriminatory and retaliatory actions from the university. These actions included but were not limited to

unjust adverse academic decisions, culminating in his unwarranted dismissal and expulsion from the

institution. Mr. Lucas contends that these adverse actions were retaliatory, following his complaints about

violations of equal opportunity access within the university.

III. Argument

      1. Irreparable Harm: The plaintiff will continue to suffer irreparable harm without the Court’s

         intervention. The harm includes substantial detriment to his academic and professional future,




Case 3:24-cv-01359          Document 1-3           Filed 11/15/24      Page 116 of 131 PageID #: 173
        severe emotional distress, and damage to his reputation. Once lost, these opportunities cannot be

        adequately compensated by monetary damages alone.

    2. Likelihood of Success on the Merits: The plaintiff’s documented evidence and claims provide a

        strong indication of success. The detailed allegations of discriminatory practices and retaliatory

        actions by the university are well-supported, showing a clear likelihood of prevailing on the

        merits.

    3. Balance of Equities: The balance of equities tips heavily in favor of the plaintiff. Preventing

        further discrimination and retaliation offers protection without imposing unjust hardship on the

        defendants. The requested injunction serves to halt ongoing harm rather than create new

        obligations or burdens for the university.

    4. Public Interest: Granting this preliminary injunction aligns with the public interest by

        reinforcing the principles of equal opportunity and non-discrimination in educational settings.

        Upholding these principles ensures that all students, regardless of disability status, are treated

        fairly and without bias.

IV. Prayer for Relief

Wherefore, the plaintiff respectfully requests that this Court:

    1. Grant a preliminary injunction enjoining Vanderbilt University from engaging in any further

        discriminatory or retaliatory actions against the plaintiff;

    2. Order the immediate reinstatement of the plaintiff to Vanderbilt University's nursing program,

        allowing him to resume his studies without further hindrance;

    3. Expunge any academic disciplinary actions from the plaintiff’s university records that arose from

        the alleged retaliatory incidents;

    4. Provide such other and further relief as the Court deems just and proper to ensure the plaintiff’s

        rights are protected and upheld.




                                                      2

Case 3:24-cv-01359          Document 1-3          Filed 11/15/24        Page 117 of 131 PageID #: 174
Respectfully Submitted,

/s/ Ian H. Lucas
Ian H. Lucas
Pro Se
221 Charleston Avenue
Pleasant View, TN 37146
(910) 872-3577
ian.h.lucas@protonmail.com




                                            3

Case 3:24-cv-01359        Document 1-3   Filed 11/15/24   Page 118 of 131 PageID #: 175
CERTIFICATE OF SERVICE

I hereby certify that on this 11th day of November 2024, a true and correct copy of the Plaintiff’s Motion
for Preliminary Injunction was filed electronically. Notice of this filing will be sent by the Court's
electronic filing system to all parties indicated on the electronic filing receipt. Parties may access this
filing through the Court’s electronic filing system.

Respectfully submitted,

/s/ Ian H. Lucas
Ian H. Lucas
Pro Se
221 Charleston Avenue
Pleasant View, TN 37146
(910) 872-3577
ian.h.lucas@protonmail.com




                                                     4

Case 3:24-cv-01359         Document 1-3          Filed 11/15/24       Page 119 of 131 PageID #: 176
Case 3:24-cv-01359   Document 1-3   Filed 11/15/24   Page 120 of 131 PageID #: 177
       EFILED 11/13/24 12:31 PM CASE NO. 24C2481 Joseph P. Day, Clerk




                     IN THE FIRST CIRCUIT COURT
       FOR THE TWENTIETH JUDICIAL DISTRICT, DAVIDSON COUNTY AT
                              NASHVILLE
IAN HUNTER LUCAS
______________________________________/
Plaintiff(s)

 vs.                                                 CASE NO. 24C2481


VANDERBILT UNIVERSITY
______________________________________/
Defendant(s)


                  DESIGNATION OF EMAIL ADDRESS FOR SERVICE
 Introduction


 COMES NOW Ian Hunter Lucas pursuant to Rule 2.516 of the Tennessee Rules of Judicial
 Administration hereby designates the following email address to receive pleadings:
 ian.h.lucas@protonmail.com.

 Additional Information


 The plaintiff will ensure the software filters have been removed from his computer, so it does
 not interfere with his ability to receive electronic mail.

                                                    Respectfully submitted on November 13,
                                                    2024,




                                                    __________________________________
                                                     Ian Hunter Lucas
                                                     PMB 61 Elizabethtown, North Carolina
                                                     28337
                                                     ian.h.lucas@protonmail.com
                                                     (910) 872-3577




                                                                                          1
Case 3:24-cv-01359       Document 1-3       Filed 11/15/24     Page 121 of 131 PageID #: 178
       EFILED 11/13/24 12:31 PM CASE NO. 24C2481 Joseph P. Day, Clerk




                     IN THE FIRST CIRCUIT COURT
       FOR THE TWENTIETH JUDICIAL DISTRICT, DAVIDSON COUNTY AT
                              NASHVILLE
IAN HUNTER LUCAS
______________________________________/
Plaintiff(s)

 vs.                                               CASE NO. 24C2481


VANDERBILT UNIVERSITY
______________________________________/
Defendant(s)


                              CERTIFICATE OF SERVICE
THE UNDERSIGNED HEREBY CERTIFIES that a true and correct copy of the foregoing has
been furnished by Email or E-Service on November 13, 2024 to the following:
- Kevin C. Klein, Klein Solomon Mills, PLLC, Attorney for Vanderbilt University, 1322 4th Ave
N, Nashville, Tennessee 37208, kevin.klien@kleinpllc.com




                                                  __________________________________
                                                   Ian Hunter Lucas
                                                   PMB 61 Elizabethtown, North Carolina
                                                   28337
                                                   ian.h.lucas@protonmail.com
                                                   (910) 872-3577




                                                                                       2
Case 3:24-cv-01359      Document 1-3      Filed 11/15/24    Page 122 of 131 PageID #: 179
       EFILED 11/13/24 01:16 PM CASE NO. 24C2481 Joseph P. Day, Clerk




                     IN THE FIRST CIRCUIT COURT
       FOR THE TWENTIETH JUDICIAL DISTRICT, DAVIDSON COUNTY AT
                              NASHVILLE
IAN HUNTER LUCAS
______________________________________/
Plaintiff(s)

 vs.                                                  CASE NO. 24C2481


VANDERBILT UNIVERSITY
______________________________________/
Defendant(s)


                                    NOTICE OF SERVING
 Notice


 Please take notice that the undersigned, Ian Hunter Lucas, has served the following documents
 via electronic service and email on November 13, 2024:
 1. DESIGNATION OF EMAIL ADDRESS FOR SERVICE
 2. REQUEST FOR PRODUCTION OF DOCUMENTS

 The notice serves to inform the court and parties about the service of the specified documents.

                                                    Respectfully submitted on November 13,
                                                    2024,




                                                    __________________________________
                                                     Ian Hunter Lucas
                                                     PMB 61 Elizabethtown, North Carolina
                                                     28337
                                                     ian.h.lucas@protonmail.com
                                                     (910) 872-3577




                                                                                          1
Case 3:24-cv-01359       Document 1-3       Filed 11/15/24     Page 123 of 131 PageID #: 180
       EFILED 11/13/24 01:16 PM CASE NO. 24C2481 Joseph P. Day, Clerk




                     IN THE FIRST CIRCUIT COURT
       FOR THE TWENTIETH JUDICIAL DISTRICT, DAVIDSON COUNTY AT
                              NASHVILLE
IAN HUNTER LUCAS
______________________________________/
Plaintiff(s)

 vs.                                               CASE NO. 24C2481


VANDERBILT UNIVERSITY
______________________________________/
Defendant(s)


                              CERTIFICATE OF SERVICE
THE UNDERSIGNED HEREBY CERTIFIES that a true and correct copy of the foregoing has
been furnished by Email or E-Service on November 13, 2024 to the following:
- Kevin C. Klein, Klein Solomon Mills, PLLC, Attorney for Vanderbilt University, 1322 4th Ave
N, Nashville, Tennessee 37208, kevin.klien@kleinpllc.com




                                                  __________________________________
                                                   Ian Hunter Lucas
                                                   PMB 61 Elizabethtown, North Carolina
                                                   28337
                                                   ian.h.lucas@protonmail.com
                                                   (910) 872-3577




                                                                                       2
Case 3:24-cv-01359      Document 1-3      Filed 11/15/24    Page 124 of 131 PageID #: 181
     IN THE FIRST CIRCUIT COURT FOR THE TWENTHIETH JUDICIAL
                      DISTRICT AT NASHVILLE

      IAN HUNTER LUCAS                     )
Plaintiff,                                 )                        Case No. 24C2481
             V.                            )                        JURY DEMAND
                                           )
                                           )
VANDERBILT UNIVERSITY et al.               )
Defendants.                                )
                                           )




                                 NOTICE OF APPEAL

Notice is hereby given that Ian Hunter Lucas, the Plaintiff in the above-named case,
hereby appeals to the Court of Appeals of Tennessee from the interlocutory order of the
First Circuit Trial Court of Davidson County entered on October 31st, 2024, which
denied the Plaintiff's motion for a temporary restraining order.


Respectfully submitted,

/s/ Ian H. Lucas
Ian H. Lucas
Pro Se Appellant
PMB 61
Elizabethtown, NC, 28337
(910) 872-3577
ianhunterlucas@outlook.com

Appellant




                                         Page 1 of 2
 Case 3:24-cv-01359       Document 1-3    Filed 11/15/24   Page 125 of 131 PageID #: 182
Certificate of Service

I hereby certify that a true and correct copy of the foregoing Notice of Appeal has been
served via the court's electronic filing system on this 15th day of November 2024, to all
parties of record.

Respectfully submitted,
/s/ Ian H. Lucas
Ian H. Lucas
Pro Se Appellant
PMB 61
Elizabethtown, NC, 28337
(910) 872-3577
ianhunterlucas@outlook.com




                                        Page 2 of 2
 Case 3:24-cv-01359     Document 1-3     Filed 11/15/24   Page 126 of 131 PageID #: 183
       EFILED 11/15/24 02:16 PM CASE NO. 24C2481 Joseph P. Day, Clerk




                       IN THE FIRST CIRCUIT COURT
         FOR THE TWENTIETH JUDICIAL DISTRICT, DAVIDSON COUNTY AT
                                NASHVILLE
IAN HUNTER LUCAS
Plaintiff(s)


 vs.                                                 CASE NO. 24C2481


VANDERBILT UNIVERSITY
Defendant(s)



                                   MOTION TO STRIKE
 Introduction


 COMES NOW Ian Hunter Lucas (hereinafter “Plaintiff”) and moves this Court for an order
 striking the NOTICE OF APPEAL and NOTICE OF NO TRANSCRIPT filed on November 15,
 2024, in anticipation of Defendants' motion to remove this case to the United States District
 Court of Middle Tennessee. In support thereof, Plaintiff states as follows:

 Facts


 1. Plaintiff and Defendants entered into an educational contract which promised Plaintiff
 educational services and fair treatment in accordance with the academic policies, including
 disability accommodations as outlined in the 2023-2024 Vanderbilt University Student
 Handbook.
 2. Plaintiff enrolled in the Master of Nursing program at Vanderbilt University, thereby
 accepting the terms of the aforementioned educational contract.
 3. The educational contract was breached by Defendants due to their failure to provide
 necessary accommodations for Plaintiff’s disability, resulting in academic penalties despite
 approved accommodations.
 4. Defendants created a hostile educational environment through discriminatory and retaliatory
 actions against Plaintiff.
 5. The damages suffered by Plaintiff include, but are not limited to, delayed graduation,
 emotional distress, and financial losses attributable to Defendants' breach of contract.
 6. Defendants’ actions led Plaintiff to file the NOTICE OF APPEAL and NOTICE OF NO
 TRANSCRIPT
 7. In anticipation of a defendants removal motion plaintiff moves to strike the filed NOTICE
 OF APPEAL and NOTICE OF NO TRANSCRIPT.



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Case 3:24-cv-01359      Document 1-3       Filed 11/15/24     Page 127 of 131 PageID #: 184
      EFILED 11/15/24 02:16 PM CASE NO. 24C2481 Joseph P. Day, Clerk




 Argument


 Plaintiff respectfully contends that the filing of the NOTICE OF APPEAL and NOTICE OF NO
 TRANSCRIPT is premature, as it comes in anticipation of Defendants' actions that have not yet
 transpired. Preliminary motions preceding the actual filing of a removal cannot justify the
 actions taken by Defendants. Under 28 U.S.C. § 1446, a defendant may remove a state court
 case to federal court, but until such a motion is filed and granted, there should be no impact on
 the existing state court case proceedings. Therefore, the appeal is not valid at this stage and
 should be disregarded.

 The premature filing of these documents constitutes a procedural disruption that hinders the
 progress of the case at hand, which directly contravenes the principles of judicial efficiency and
 fairness.

 Demand


 WHEREFORE, Plaintiff requests this Court to strike the NOTICE OF APPEAL and NOTICE
 OF NO TRANSCRIPT filed on November 15, 2024, as these filings are not appropriate under
 the current procedural context and may impede the ongoing proceedings in this matter.

                                                     Respectfully submitted on November 15,
                                                     2024,




                                                     __________________________________
                                                      Ian Hunter Lucas
                                                      PMB 61 Elizabethtown, North Carolina
                                                      28337
                                                      ian.h.lucas@protonmail.com
                                                      (910) 872-3577




                                                                                           2
Case 3:24-cv-01359       Document 1-3        Filed 11/15/24     Page 128 of 131 PageID #: 185
       EFILED 11/15/24 02:16 PM CASE NO. 24C2481 Joseph P. Day, Clerk




                     IN THE FIRST CIRCUIT COURT
       FOR THE TWENTIETH JUDICIAL DISTRICT, DAVIDSON COUNTY AT
                              NASHVILLE
IAN HUNTER LUCAS
______________________________________/
Plaintiff(s)

 vs.                                               CASE NO. 24C2481


VANDERBILT UNIVERSITY
______________________________________/
Defendant(s)


                              CERTIFICATE OF SERVICE
THE UNDERSIGNED HEREBY CERTIFIES that a true and correct copy of the foregoing has
been furnished by Email or E-Service on November 15, 2024 to the following:
- Kevin C. Klein, Klein Solomon Mills, PLLC, Attorney for Vanderbilt University, 1322 4th Ave
N, Nashville, Tennessee 37208, kevin.klien@kleinpllc.com




                                                  __________________________________
                                                   Ian Hunter Lucas
                                                   PMB 61 Elizabethtown, North Carolina
                                                   28337
                                                   ian.h.lucas@protonmail.com
                                                   (910) 872-3577




                                                                                       3
Case 3:24-cv-01359      Document 1-3      Filed 11/15/24    Page 129 of 131 PageID #: 186
11/15/24, 4:20 PM                                                                          NEF




                                      ***** IMPORTANT NOTICE - READ THIS INFORMATION *****
                                                NOTICE OF ELECTRONIC FILING [NEF]

   A filing has been submitted to the Davidson County Circuit Court Clerk concerning:
   Case #:                                 24C2481
   Case Title:                             LUCAS V VANDERBILT UNIVERSITY
   Court:                                  DAVIDSON COUNTY CLERK OF COURTS
                                           Circuit
   Judge:                                  C DAVID BRILEY - 1st Circuit
   Official File Stamp:                    11-15-2024:11:40:39 AM
   Case Title:                             LUCAS V VANDERBILT UNIVERSITY
   Document(s) Submitted:                  NOTICE NOTICE OF APPEAL OF DENIED TRO
   Filed By:                               Ian Hunter Lucas


   This notice was automatically generated by the courts auto-notification system.

   The following people were served electronically:
                                     KEVIN CHRISTOPHER KLEIN for VANDERBILT UNIVERSITY
                                     LUCAS, IAN HUNTER
                                     MATTHEW JP HORTON for VANDERBILT UNIVERSITY


   The following people have not been served electronically by the Court. Therefore, they must be served by
   conventional means:
                                     VANDERBILT UNIVERSITY SCHOOL OF NURSING
                                                    Address: VANDERBILT UNIVERSITY SCHOOL OF NURSING
                                                             2100 WEST END AVENUE
                                                             SUITE 1100
                                                             NASHVILLE, TN 37203




            Case 3:24-cv-01359                 Document 1-3               Filed 11/15/24            Page 130 of 131 PageID #: 187
https://circuitefile.nashville.gov/notify/notification.html?pageAction=DownloadNotification&notifyId=7120239                        1/1
11/15/24, 4:22 PM                                                                          NEF


                                    The Notice below is RESCINDED: The filing was not filed.




  ***** IMPORTANT NOTICE - READ THIS INFORMATION ***** NOTICE OF ELECTRONIC FILING [NEF]

   A filing has been submitted to the Davidson County Circuit Court Clerk concerning:
   Case #:                                 24C2481
   Case Title:                             LUCAS V VANDERBILT UNIVERSITY
   Court:                                  DAVIDSON COUNTY CLERK OF COURTS
                                           Circuit
   Judge:                                  C DAVID BRILEY - 1st Circuit
   Official File Stamp:                    11-15-2024:11:40:39 AM
   Case Title:                             LUCAS V VANDERBILT UNIVERSITY
   Document(s) Submitted:                  NOTICE NOTICE OF APPEAL OF DENIED TRO
   Filed By:                               Ian Hunter Lucas


   This notice was automatically generated by the courts auto-notification system.

   The following people were served electronically:
                                     KEVIN CHRISTOPHER KLEIN for VANDERBILT UNIVERSITY
                                     LUCAS, IAN HUNTER
                                     MATTHEW JP HORTON for VANDERBILT UNIVERSITY


   The following people have not been served electronically by the Court. Therefore, they must be served by
   conventional means:
                                     VANDERBILT UNIVERSITY SCHOOL OF NURSING
                                                    Address: VANDERBILT UNIVERSITY SCHOOL OF NURSING
                                                             2100 WEST END AVENUE
                                                             SUITE 1100
                                                             NASHVILLE, TN 37203




            Case 3:24-cv-01359                 Document 1-3               Filed 11/15/24            Page 131 of 131 PageID #: 188
https://circuitefile.nashville.gov/notify/notification.html?pageAction=DownloadNotification&notifyId=7122690                        1/1
